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 6

 7                                UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF COLUMBIA
 9                                (HONORABLE BERYL A. HOWELL)
10
     UNITED STATES OF AMERICA,                  )   CASE NO. 16cr229-BAH
11                                              )
                     Plaintiff,                 )   DATE:     March 7, 2025
12                                              )   TIME:     9:30 a.m.
     v.                                         )
13                                              )   DEFENDANT’S SENTENCING
     RUBEN OSEGUERA-GONZALEZ,                   )   MEMORANDUM
14                                              )
                                                )
15                   Defendant.                 )
                                                )
16

17   TO:             JONATHAN R. HORNOCK, ASSISTANT UNITED STATES ATTORNEY.
18             Defendant, Ruben Oseguera-Gonzalez (“Mr. Oseguera”), by and through his counsel,
19   Anthony E. Colombo, Jr., and Jan E. Ronis, hereby file the following Sentencing
20   Memorandum.
21                                                  I.
22                                        INTRODUCTION
23             Mr. Oseguera is respectfully requesting the Court impose the minimum mandatory
24   sentence of 40 years custody.1 Mr. Oseguera maintains that in examining his particular
25   circumstances and the offenses of conviction, the requested sentence is sufficient, but not
26   greater than necessary to achieve all the goals of sentencing.
27

28         1

          Count 1 - 10 year minimum mandatory, plus Count 2 - 30 year minimum mandatory,
     mandatory consecutive to Count 1.
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 1         The Government requests the Court impose two consecutive life sentences for the two
 2   counts of conviction. See ECF 225 at 1.
 3         In considering the Government’s request, the Court must consider two questions.
 4   First, is the proven conduct of Mr. Oseguera at a time when he must be considered a
 5   youthful offender comparatively so severe that only a life sentence is reasonable? Second,
 6   is Mr. Oseguera, at the age of 35, totality incapable of rehabilitation that only a life sentence
 7   is reasonable? The answers to both questions are the same. NO.
 8         The Court should reject the Government’s request for two consecutive life sentences
 9   and impose the minimum mandatory sentence of 40 years custody.
10         The reasons why will be addressed in this memorandum.
11                                                  II.
12                          SENTENCING FACTORS CONSIDERED
13         A.     Current Law
14         The Sentencing Guidelines are advisory, not mandatory. United States v. Booker, 543
15   U.S. 220, 224-25, 259-60 (2005); United States v. Hantzis, 625 F.3d 575, 582 (9th Cir.
16   2010). Accordingly, this Court is authorized to impose a sentence below the Guidelines
17   range. Booker, 543 U.S. at 245. The Supreme Court has established a framework for
18   approaching the sentencing process post-Booker. See Rita v. United States, 551 U.S. 338
19   (2007); Gall v. United States, 551 U.S. 1113 (2007); Kimbrough v. United States, 552 U.S.
20   85 (2007). Under this framework, the sentencing court must consider all of the factors listed
21   in 18 U.S.C. § 3553(a) when imposing sentence. Id.
22         The overarching statutory charge under 18 U.S.C. § 3553(a) is to “impose a sentence
23   sufficient, but not greater than necessary” to comply with the purposes of sentencing. See
24   18 U.S.C. § 3553(a). Those purposes are the need:
25                - to reflect the seriousness of the offense, to promote respect for the law, and
                    to provide just punishment;
26                - to afford adequate deterrence;
                  - to protect the public from future crimes of the defendant; and
27                - to provide the defendant with necessary educational or vocational training,
                    medical care, or other correctional treatment.
28

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 1         All sentencing proceedings are to begin by determining the applicable Guidelines
 2   range. Carty, 520 F.3d at 991. The Guidelines are the starting point and the initial
 3   benchmark, and are to be kept in mind throughout the process. Id. Furthermore, the parties
 4   must be given a chance to argue for a sentence they believe is appropriate. Id.
 5         The sentencing court must then consider the factors outlined in 18 U.S.C. § 3553(a)
 6   to determine if they support the sentence suggested by the parties, specifically:
 7                - the nature and circumstances of the offense, § 3553(a)(1);
                  - the history and characteristics of the defendant, § 3553(a)(1);
 8                - the kinds of sentences available, § 3553(a)(3);
                  - the sentencing guidelines range, § 3553(a)(4);
 9                - pertinent Sentencing Commission policy statements, § 3553(a)(5);
                  - the need to avoid unwarranted sentencing disparities, § 3553(a)(6); and
10                - the need to provide restitution to any victims of the offense, § 3553(a)(7).
11         When considering these factors and determining the appropriate sentence, the
12   sentencing court may not presume that the Guidelines range is reasonable, nor should the
13   Guidelines factor be given more or less weight than any other. Nelson v. United States, 129
14   S.Ct. 890, 892 (2009); Carty, 520 F.3d at 991.
15         This court is “empowered to disagree with the Guidelines, when the circumstances
16   in an individual case warrant.” United States v. Mitchell, 624 F.3d 1023, 1028 (9th Cir.
17   2010). Although “[n]o judge is required to sentence at a variance with a Guideline” . . .
18   “every judge is at liberty to do so.” Id. at 1030 (citing United States v. Corner, 598 F.3d 411,
19   416 (7th Cir. 2010)). Under these principles, the court is at liberty to tailor a sentence to the
20   individual defendant. United States v. Chavez, 611 F.3d 1006 (9th Cir. 2010) (citing
21   Kimbrough, 552 U.S. at 101). Given the application and balancing of the factors in 18
22   U.S.C. § 3553(a), the sentencing process necessarily involves an exercise in judgment, not
23   a mathematical proof. United States v. Grossman, 513 F.3d 592 (6th Cir. 2008). Indeed,
24   rigid mathematical formulas for reviewing outside-guidelines sentences are barred. Gall,
25   552 U.S. at 47.
26         Furthermore, one of the goals of sentencing remains rehabilitation. United States v.
27   Moreland, 568 F. Supp. 2d 674, 687 (S.D. W. Va. 2008). This goal cannot be served if a
28

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 1   defendant has nothing to look forward to beyond imprisonment. Id. Accordingly, a judge
 2   should hesitate to impose a sentence so severe that she “destroys all hope and takes away
 3   the possibility of useful life.” Id. (citing United States v. Carvajal, 2005 WL 476125 at *6,
 4   2005 (S.D.N.Y. 2005)). Instead, the district court “shall impose a sentence sufficient, but
 5   not greater than necessary, to comply with the purposes [of sentencing].” 18 U.S.C. §
 6   3553(a). As the Supreme Court explained in Pepper, “the punishment should fit the
 7   offender and not merely the crime including taking into account a person’s life[,]
 8   characteristics and rehabilitation.” See Pepper v. United States, 562 U.S. 476, 487-88
 9   (2011).
10            B.    Applicable Sentencing Guidelines2
11            Mr. Oseguera maintains the following Sentencing Guidelines are applicable and
12   appropriately applied in this case:
13            Base Offense Level [U.S.S.G. § 2D1.1(c)(1)]                        38
14            Acceptance of Responsibility [U.S.S.G. § 3E1.1(a)]                 -23
15            Total Adjusted Offense Level                                       36
16            Mr. Oseguera has zero criminal history points, and he is therefore in a Criminal
17   History Category I. The Sentencing Guideline range for an adjusted offense level of 36, and
18   a Criminal History Category I, is 188-235 months custody. However, the minimum
19   mandatory of 40 years is applicable in this case, and thus, 480 months custody becomes the
20   guideline sentence. See U.S.S.G. § 5G1.1(b) (2024) (“Where a statutorily required
21   minimum sentence is greater than the maximum of the applicable guideline range, the
22   statutorily required minimum sentence shall be the guideline sentence.”). Mr. Oseguera
23
          2

24        Mr. Oseguera objected to the draft Presentence Investigation Report’s guideline
   calculations and analysis prepared by the United States Probation Department and maintains
25 his objections to the final report which adopted all of the Government’s requests which are
   addressed herein.
26
          3

27       To the extent the Court considers the Joint Statement of Facts in relation to the
   offense conduct, the Court then can also consider this statement in relation to acceptance of
28 responsibility, and grant a -2 level reduction pursuant to U.S.S.G. § 3E1.1(a).

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 1   maintains that a 480 month, or 40 year sentence, is sufficient, but not greater than necessary
 2   to achieve the goals of sentencing. Mr. Oseguera opposes the Government’s numerous
 3   upward adjustments in totality and maintains for the reasons addressed below any
 4   application of those upward adjustments would be in violation of both his Fifth and Sixth
 5   Amendment rights under the United States constitution.
 6                1.     U.S.S.G. § 2D1.1(b)(2) (violence) should not apply because it is based
                         on entirely foreign conduct
 7
           The Government recommends a +2 level increase pursuant to U.S.S.G. § 2D1.1(b)(2)
 8
     (use of violence). See ECF 225 at 4. This upward adjustment should not be applied because
 9
     it is based entirely on foreign conduct.
10
           The analysis here begins with United States v. Azeem, 946 F.2d 13, 17 (2d Cir. 1991).
11
     There, the Second Circuit explained that “[t]he Guidelines section on base offense levels is
12
     broadly worded to include all such acts and omissions that were part of the same course of
13
     conduct or common scheme or plan, but does not explicitly address the issue of foreign
14
     crimes and activities. U.S.S.G. § 1B1.3(a)(2). However, the Guidelines elsewhere note that
15
     foreign sentences may not be used for upward departures from the otherwise applicable
16
     range. See U.S.S.G. §§ 4A1.2(h), 4A1.3(a).” Id.
17
           The Second Circuit concluded, “[f]rom the provisions, it follows that Congress, while
18
     it has not remained entirely silent, has chosen to assign to foreign crimes a rather limited
19
     role. We decline to find that Congress intended to require that foreign crimes be considered
20
     when calculating base offense levels simply because Congress did assign foreign crimes a
21
     role in fixing upward departures, while remaining silent on their role in calculating base
22
     offense levels. Not every congressional silence is pregnant. In general, congressional
23
     consideration of an issue in one context, but not another, in the same or similar statutes
24
     implies that Congress intends to include that issue only where it has so indicated.” Id.
25
     Thus, the Second Circuit “decline[d] to create the complexities that the inclusion of foreign
26
     crimes in the base offense level would generate.” Id. at 18.
27

28

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 1         Following Azeem, in United States v. Chunza-Plazas, 45 F.3d 51, 57-58 (2d. Cir.
 2   1995), the Second Circuit further determined that even when foreign conduct is part of the
 3   same conspiracy, it should not be used to increase the defendant’s offense level. “The same
 4   considerations considered in Azeem with respect to base offense level, should guide our
 5   determination of whether Chunza’s conduct in Colombia may be considered for an upward
 6   departure. . . Chunza’s illegal activities in Colombia were not crimes against the United
 7   States, and therefore should not be included in the guideline calculation.” Id. at 57.
 8         The District of Columbia (“D.C.”) Circuit Court reached an analogous conclusion in
 9   United States v. Flores, 912 F.3d 613 (Flores I) (D.C. Cir. 2019). In Flores, the defendant
10   “appeal[ed] his sentence, arguing the District Court erred when it considered his murder of
11   a Mexican national in Mexico when calculating his sentence under the Sentencing
12   Guidelines.” Id. at 615. The D.C. Circuit Court “agree[d] with Flores” and vacated his
13   sentence. Id. In doing so, the Court explained that the “murder of the Mexican kidnap
14   victim” could not be used to support the relevant guidelines enhancement under U.S.S.G.
15   § 2E1.1. Id. at 621.
16         Here, the conduct underlying the violence and bribes is purely foreign conduct, and
17   in fact, no evidence was presented at trial that anything at all occurred in the United States.
18   The violence and the bribes were, as assumed by the Court, extrinsic, to the offense against
19   the United States, the importation which formed the basis of the conviction. See ECF 167,
20   at 7. Thus, to borrow from the Second Circuit, those “activities in [Mexico] were not crimes
21   against the United States, and therefore should not be included in the guideline calculation.”
22   Chunza-Plazas, 45 F.3d at 57. Here, there is no constitutionally permissible basis to impose
23   sentencing enhancements for purely foreign conduct that did not economically impact the
24   United States. See In re Sealed Case, 936 F.3d 582, 590 (D.C. Cir. 2019) (“Doubt certainly
25   exists as to Congress’s ability under the Foreign Commerce Clause to criminalize conduct
26   with no effect on the United States.”).
27

28

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 1         This conclusion finds considerable support in the basic premise of our legal system
 2   that, in general, United States law governs domestically but does not rule the world. This
 3   principle finds expression in a canon of statutory construction known as the presumption
 4   against extraterritoriality: Absent clearly expressed congressional intent to the contrary,
 5   federal laws will be construed to have only domestic application. The question is not
 6   whether we think Congress would have wanted a statute to apply foreign conduct if it had
 7   thought of the situation before the court, but whether Congress has affirmatively and
 8   unmistakably instructed that the statute would do so. When a statute gives no clear
 9   indication of an extraterritorial application, it has none. See RJR Nabisco, Inc. V. European
10   Cmty., 579 U.S. 325, 335 (2016).
11         Applying these principles to the Guidelines reveals no clear indication that the
12   violence and bribery enhancements in sections 2D1.1(b)(2) and 2D1.1(b)(11), or any of the
13   other enhancements addressed below, were intended to have extraterritorial application.
14   The provisions do not state they apply extraterritorially. Nor does the commentary. This
15   is strong evidence supporting the presumption. However, there is more.
16         Under the doctrine of negative implication (expressio unius est exclusio alterius),
17   courts should presume that where the drafters include particular language in one part of a
18   statute or guidelines provision, but omit it in another, the omission is intentional. See
19   United States v. Fuller, 531 F.3d 1020, 1027 (9th Cir. 2008); United States v. Huang, 687
20   F.3d 1197, 1205-06 (9th Cir. 2012). In other words, “[u]nder the maxim of expressio unius
21   est exclusio alterius, there is a presumption that . . . all omissions should be understood as
22   exclusions.” Copeland v. Ryan, 852 F.3d 900, 908 (9th Cir. 2017). Certainly the Sentencing
23   Commission knows how to make a Guidelines provision extraterritorial when it wants. See
24   e.g., Section 2B1.1(b)(10)(B) (+2 level increase when “a substantial part of a fraudulent
25   scheme was committed from outside the United States”). The lack of any extraterritorial
26   language to the violence and bribery enhancements strengthens the conclusion that they do
27   not apply to conduct entirely outside of the United States. As such, they should not be
28

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 1   applied in this case.

 2                2.     U.S.S.G. § 2D1.1(b)(4) (drugs in prison) should not apply because it
                         is based on entirely foreign conduct and lacks evidentiary support
 3
           The Government recommends a +2 increase pursuant to U.S.S.G. § 2D1.1(b)(4)
 4
     (drugs in prison). See ECF 225 at 4. This upward adjustment should not be applied because
 5
     it is based entirely on foreign conduct. For the same reasons stated above, the increase is
 6
     not appropriate.
 7
           In addition, this upward adjustment lacks credible evidentiary support. The language
 8
     of § 2D1.1(b)(4) reads as follows: “If the object of the offense was the distribution of a
 9
     controlled substance in a prison . . . increase by 2 levels.”
10
           First, Mr. Oseguera was never charged with distribution of a controlled substance in
11
     a prison. He was charged with distribution of a controlled substance for importation into
12
     the United States. The object of the distribution being the importation into the United
13
     States, not into a Mexican prison. Any alleged distribution of drugs into a Mexican prison
14
     was not intrinsic in the indictment and it was collateral to the charges in the indictment.
15
           Second, the evidence relied upon by the Government does not rise to the level of a
16
     preponderance of the evidence as it is not based upon reliable or credible testimony. Here,
17
     the Government relies upon the testimony of Mario Ramirez-Trevino to establish that while
18
     in custody in a prison in Mexico he participated in a meeting with Mr. Oseguera to
19
     determine who would control the sale of drugs within the prison. See ECF 207 at 1-2.
20
           There are three points that the Court must consider that determine Ramirez-Trevino’s
21
     testimony is not reliable or credible and cannot support the upward adjustment requested.
22
           The first point is obvious, “[a] witness seeking [] leniency may have an interest in
23
     cooperating with the Government, even if it means giving a false account.” Robinson v.
24
     Cheney, 876 F.2d 152, 158 (D.C. Cir. 1989). Courts have rightly “stressed repeatedly that
25
     informants as a class, although indispensable to law enforcement, are oftentimes
26
     untrustworthy.” United States v. Estrada, 904 F.3d 854, 865 (9th Cir. 2018). At the very
27
     least, “the testimony of witnesses receiving anything from the Government in return for the
28

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 1   witness’s cooperation must be examined with greater caution than that of other witnesses.”

 2   Id. As the Court is aware Ramirez-Trevino is terminally ill and faces a potential life

 3   sentence. He will say anything to get out of custody before he dies, including fabricating

 4   his testimony. He is clearly someone with no moral compass or conscious as he was the

 5   boss of the Gulf Cartel responsible for countless murders and over saw the “cooks” cooking

 6   the bodies of his cartel victims in the “kitchens.” See February 21, 2024 Video Deposition

 7   Transcript at 56-60, 74. Ramirez-Trevino was extradited to the United States in December

 8   of 2017, and began his cooperation with the Government in January of 2018. Given his lack

 9   of credibility it should come as no surprise that it took two years of cooperation and eight

10   meetings before Ramirez-Trevino, at a debrief on February 2, 2021, first mentioned Mr.

11   Oseguera. See id. at 52.

12         The second point, one that is not so obvious requires a careful examination of

13   Ramirez-Trevino’s testimony. Ramirez-Trevino and Mr. Oseguera were housed in the

14   “Special Treatment Unit” of a “Maximum Security” prison in Altiplano, Mexico. See

15   February 21, 2024 Video Deposition Transcript at 24-25. It’s the number one federal prison

16   in Mexico according to Ramirez-Trevino. See id. at 62. As argued by the Government,

17   Ramirez-Trevino testified that he attended a meeting with Mr. Oseguera to determine who

18   would control the sale of drugs in the prison. What the Government wants the Court to

19   overlook is the reasonableness and reliability of Ramirez-Trevino’s testimony relating to

20   who facilitated the meeting. Ramirez-Trevino testified, “The attorneys would organize them

21   [the meetings] with the secretaries or the prosecutor’s office.” See id. at 25. “[P]eople from

22   the prosecution’s office, the secretaries” were present during the meeting. See id. at 28. The

23   Court even itself needed clarification and in response to the Court’s question about members

24   of the Mexican prosecution’s office being present at the meeting, Ramirez-Trevino

25   responded, “the secretary to the prosecution’s office [] they were to the side -- off to the

26   side.” Id. at 29. According to Ramirez-Trevino it was the prosecutor’s office that organized

27   the meeting, and the prosecutor’s secretaries, although they didn’t participate in the meeting,

28   they were off to the side. The Court should be skeptical about Ramirez-Trevino’s claim that

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 1   in Mexico’s most secure maximum security prison Mexican prosecutors organized a meeting

 2   for inmates to discuss the control and distribution of drugs in the prison. This claim does

 3   not seem reasonable, but most importantly it is not corroborated.

 4         The third point the Court must consider in evaluating the evidence to support the

 5   upward adjustment is simply that it is based entirely upon the uncorroborated testimony of

 6   Ramirez-Trevino a cooperating Government witness with nothing to lose and much to gain

 7   by fabricating his testimony. The Government presented no documents, surveillance, or

 8   testimony from law enforcement or other cooperating witness. Tellingly, although Torres-

 9   Marrufo, another cooperating witness for the Government was in custody with Mr. Oseguera

10   for over a year, Torres-Marrufo mentioned nothing at all about Mr. Oseguera’s involvement

11   with distributing drugs in the prison. If it were an object of the conspiracy to distribute

12   drugs inside a prison then wouldn’t Torres-Marrufo have had a similar experience as

13   Ramirez-Trevino or at least some information to corroborate Ramirez-Trevino’s testimony?

14   Torres-Marrufo didn’t have such an experience or other information whatsoever as it related

15   to distributing drugs in the prison. The lack of corroboration for Ramirez-Trevino’s

16   testimony should require the Court to deny the Government’s request for an upward

17   adjustment pursuant to § 2D1.1(b)(4).

18                3.    U.S.S.G. § 2D1.1(b)(11) (bribery) should not apply because it is
                        based on entirely foreign conduct And lacks evidentiary support
19
           The Government recommends a +2 level increase pursuant to U.S.S.G. §
20
     2D1.1(b)(11) (use of bribery). See ECF 225 at 5. This upward adjustment should not be
21
     applied because it is based entirely on foreign conduct. For the same reasons stated above,
22
     the increase is not appropriate.
23
           In addition, this upward adjustment lacks evidentiary support.            Neither the
24
     Government or the United States Probation Department have cited to any evidence in the
25
     record that demonstrates Mr. Oseguera was involved with payment of bribes. They simply
26
     cannot as the Government did not present any evidence at trial in relation to bribes.
27

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 1         In fact, Hermino Gomez-Ancira, the former head of public security for Villa

 2   Purificacion, Mexico, who was a cooperating Government witness relied extensively upon

 3   by the Government to support the recommendation of two consecutive life sentences, denied

 4   ever accepting bribes. When questioned about being bribed or paid for his help transporting

 5   drugs as a police officer, Gomez-Ancira stated, “I’ve always said it and I say it again: I have

 6   always worked for a salary of 8,000 pesos every two weeks, and nobody has paid me

 7   anything to work for them. . . . Nobody ever paid me a peso.” See September 12, 2024

 8   Transcript (Afternoon session) at 14-15.

 9         The only other relevant discussion worth mentioning relating to bribes was from

10   cooperating witness Elipidio Mojarro-Ramirez who conceded that during his reign as the

11   boss of the Milenio Cartel he paid bribes to Mexican law enforcement and the Mexican

12   military to conduct raids against his rival the CJNG, and to arrest Mencho. See September

13   11, 2024 Transcript (Morning session) at 15-18. He also conceded that he continued to pay

14   these bribes to the Mexican military after he left the Milenio Cartel to facilitate his drug

15   trafficking activities until he began cooperating in 2015. See id. at 21. Coincidentally,

16   Mojarro-Ramirez began cooperating in May of 2015, only a few days after the military

17   helicopter incident which occurred on May 1, 2015. The timing of Mojarro-Ramirez’s

18   decision to cooperate is uncanny. There is really only one reasonable explanation for it. It’s

19   highly likely the very bribes paid by Mojarro-Ramirez to the Mexican military to hunt

20   Mencho is what set off the series of events that occurred on May 1, 2015.

21                4.     U.S.S.G. § 2D1.1(b)(12) (maintained premises) should not apply
                         because it is based on entirely foreign conduct and lacks Evidentiary
22                       support

23         The Government recommends a +2 level increase pursuant to U.S.S.G. §

24   2D1.1(b)(12) (maintaining premises for the purpose of manufacturing or distributing a

25   controlled substance). See ECF 225 at 5. This upward adjustment should not be applied

26   because it is based entirely on foreign conduct. For the same reasons stated above, the

27   increase is not appropriate.

28

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 1         In addition, the Court should deny the Government’s request to apply this upward

 2   adjustment as it lacks evidentiary support. “Subsection (b)(12) applies to a defendant who

 3   knowingly maintains a premise (i.e., a building, room, or enclosure) for the purpose of

 4   manufacturing or distributing a controlled substance, including storage of a controlled

 5   substance for distribution.” See U.S.S.G. § 2D1.1Application Note 17. “Among the factors

 6   the court should consider in determining whether defendant “maintained” the premises are

 7   (A) whether the defendant held a possessory interest in (e.g. owned or rented) the premises

 8   and (B) the extent to which the defendant controlled access to, or activities at, the premises.”

 9   Id. “Manufacturing or distributing a controlled substance need not be the sole purpose for

10   which the premises was maintained, but must be one of the defendant’s primary or principle

11   uses for the premises, rather than one of the defendant’s incidental or collateral uses for the

12   premises. In making this determination, the court should consider how frequently the

13   premises was used by the defendant for manufacturing or distributing a controlled substance

14   and how frequently the premises was used by the defendant for lawful purposes.” Id.

15         The Government failed to present any evidence at trial that would allow the Court to

16   make the factual findings required, even by a preponderance of evidence.

17         First, where was/were the premise/premises located? What exactly was/were the type

18   of premise/premises? Were they homes, buildings, enclosures? Were they only under a tarp

19   or a canopy? If so, this would not qualify as a premise as defined by the sentencing

20   guidelines. In a normal case the Court would have photographic evidence or video

21   surveillance of the location used to manufacture or distribute the controlled substances.

22   Here there is nothing. No physical evidence whatsoever. If the Government’s witness

23   testimony was truthful, particularly, Gomez-Ancira’s testimony about “labs” or a

24   “warehouse,” couldn’t the Government have at least pinpointed these premises with a

25   satellite image? Couldn’t they have obtained at least one photograph? How many

26   warehouses could be located in Villa Purificacion, a very “small little town” in a “rural”

27   area. See September 11, 2024 Transcript (Afternoon session) at 4. Gomez-Ancira bragged

28   during his testimony he knew the area “[b]etter than anyone.” See id. at 5. He should have

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 1   easily been able to pinpoint the “warehouse” on Google maps. However, he did not. The

 2   Court is left only to speculate and must speculate to fill in the evidentiary gaps left by the

 3   Government’s evidence.

 4         Second, what exactly was Mr. Oseguera’s possessory interest in the property? The

 5   Court is again left to speculate as there is no corroborative evidence for the Court to

 6   evaluate. In a normal case there would indicia of dominion and control over a property

 7   through either a real estate title, mail retrieved at the property etc... Here, there is nothing

 8   at all and no evidence to corroborate the cooperating witness testimony. Interestingly, and

 9   contrary to Mr. Oseguera having a possessory interest in a warehouse, Gomez-Ancira

10   testified that the “warehouse” used “[was] my warehouse in Palenque [Villa Purificacion]

11   that I had a business of table dance.” See September 11, 2024 Transcript (Afternoon

12   session) at 16-17. Apparently, Gomez-Ancira while the head of public security in Villa

13   Purificacion also owned and operated a strip club. Here, the Government simply wants the

14   Court to dispense with the evidentiary requirement to establish the upward adjustment and

15   replace it with speculation and conjecture.

16         Third, the Government argues that the intercepted Blackberry messages revealed Mr.

17   Oseguera maintained an “office” that he used to operate the CJNG. See ECF 207 at 4.

18   However, “[s]ubsection (b)(12) applies to a defendant who knowingly maintains a premise

19   (i.e., a building, room, or enclosure) for the purpose of manufacturing or distributing a

20   controlled substance, including storage of a controlled substance for distribution.” See

21   U.S.S.G. § 2D1.1 Application Note 17. Therefore, pursuant to subsection (b)(12) the

22   Government must prove the “office” was specifically used for the purpose of manufacturing

23   or distributing a controlled substance, including storage of a controlled substance for

24   distribution. The evidence here does not establish the office referred to by the Government

25   was used for this specific purpose.

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 1                  5.    U.S.S.G. § 2D1.1(b)(16)(E) (criminal livelihood ) should not apply
                          because it is based on entirely foreign conduct and lacks evidentiary
 2                        support

 3            The Government recommends a +2 level increase pursuant to U.S.S.G. §

 4   2D1.1(b)(16)(E) (pattern of criminal conduct engaged in as a livelihood).4 See ECF at 5.

 5   This upward adjustment should not be applied because it is based entirely on foreign

 6   conduct. For the same reasons stated above, the increase is not appropriate. It also lacks

 7   evidentiary support.

 8            For the purposes of subsection (b)(16)(E), pattern of criminal conduct and engaged

 9   in as a livelihood have the meaning given such terms in § 4B1.3 (Criminal Livelihood) of

10   the sentencing guidelines. § 4B1.3, Commentary Application Notes, defines a “pattern of

11   criminal conduct” as “planned criminal acts occurring over a substantial period of time.

12   Such acts may involve a single course of conduct or independent offenses.” U.S.S.G. §

13   4B1.3, Commentary Application Notes: 1. Pattern of criminal conduct (2024). “‘Engaged

14   in as a livelihood’ means that (A) the defendant derived income from the pattern of criminal

15   conduct that in any twelve-month period exceeded 2,000 times the then existing hourly

16   minimum wage under federal law; and (B) the totality of circumstances shows that such

17   criminal conduct was the defendant’s primary occupation in that twelve month period (e.g.,

18   the defendant engaged in criminal conduct rather than regular, legitimate employment; or

19   the defendant’s legitimate employment was merely a front for the defendant’s criminal

20   conduct)”. See id. at Commentary Application Notes: 2. Engaged in as a livelihood.

21            Here, the Government has not presented any evidence to support the above required

22   findings the Court must make to establish the upward adjustment for criminal livelihood.

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27       This upward adjustment is only applicable upon a finding of aggravated role pursuant
   to U.S.S.G. §3B1.1, and thus, the argument here will assume the Court has made such a
28 finding.

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 1                6.    U.S.S.G. § 3A1.3 (restraint of a victim) should not apply because it
                        is based on entirely foreign conduct and lacks evidentiary support
 2
           The Government recommends a +2 level increase pursuant to U.S.S.G. § 3A1.3
 3
     (restraint of a victim). See ECF at 5. This upward adjustment should not be applied because
 4
     it is based entirely on foreign conduct. For the same reasons stated above, the increase is
 5
     not appropriate. It also lacks evidentiary support.
 6
           The Government relies upon the testimony of Gomez-Ancira to establish the
 7
     applicability of the upward adjustment for restraint of a victim. See ECF 207 at 6.
 8
     However, Gomez-Ancira’s testimony is a complete fiction. He is not credible and his
 9
     testimony should be rejected by the Court. Furthermore, Gomez-Ancira’s testimony was
10
     vague on supportive details, and entirely lacks any corroboration. For example, we do not
11
     have any physical descriptions of the victims, ages, names, etc... nothing. According to
12
     Gomez-Ancira these alleged murders occurred in April of 2015, in an encampment in
13
     Alvarado “amongst the mangoes.” See September 12, 2024 Transcript (Afternoon session)
14
     at 26-27. There are no corroborative reports of these murders. These five people apparently
15
     were murdered and went missing and not one single person reported it? And this having
16
     occurred in a small rural area as described by Gomez-Ancira. His claims simply do not add
17
     up and entirely lack corroboration.
18
           The Government also relies upon two Blackberry messages to establish the
19
     applicability of the upward adjustment for restraint of a victim. However, the Government’s
20
     interpretation of the Blackberry messages lacks evidentiary support in the trial record. The
21
     Government did not present any evidence from any participant in the alleged restraint, and
22
     also did not present any evidence from any of the alleged 12 victims, including the
23
     “engineer” who was allegedly kidnaped and held. The Court, without any corroborative
24
     evidence is left to speculate what the Blackberry messages mean. For example, “tied up”
25
     or “put away” in the context of the Blackberry messages could easily mean prevented from
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     working in manufacturing or distributing drugs, not literally “tied up” and “put away.”
27
     Again, without corroborative evidence the Court is left to speculate. The Court should not
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 1   engage in such speculation and should deny the Government’s request for an upward

 2   adjustment pursuant to § 3A1.3, restraint of a victim.

 3                7.     The Court should not apply U.S.S.G. §§ 2D1.1(d)(1) and 2A1.1(a)

 4         “The Sentencing Guidelines provide that a defendant’s drug offense level will be

 5   increased to the maximum offense level of 43 if a victim was killed under circumstances that

 6   would constitute murder under 18 U.S.C. § 1111.” United States v. Bostick, 791 F.3d 127,

 7   158 (D.C. Cir. 2016) (citing U.S.S.G. § 2D1.1(d)(1); U.S.S.G. § 2A1.1(a) (First Degree

 8   Murder)). The Government has requested that the Court apply this alternative minimum

 9   offense level. See ECF 225 at 17-20. The Court should decline to impose the application

10   of this alternative minimum offense level. First, this request is based entirely on foreign

11   conduct and for the same reasons stated above, the increase is not appropriate. In addition,

12   and again, the Government’s request lacks evidentiary support and should be denied.

13         United States v. Bostick, the sole case cited by the Government in support of its

14   argument, is entirely distinguishable from the case here, and is an example of the evidence

15   required to establish the application of §§ 2D1.1(d) and 2A1.1(a). In Bostick the defendants

16   were charged in a massive drug distribution organization in Southeast Washington, D.C.

17   See Bostick, 791 F.3d 127 at 134-35. The organization sold crack cocaine and other drugs,

18   and committed numerous murders and other violent crimes. See id. Several murders were

19   specifically charged and proven at trial. See id. at 158-59. In upholding the District Court’s

20   application of §§ 2D1.1(d)(1) and 2A1.1(a), the D.C. Circuit found the defendants’

21   arguments without merit as defendant “Marbury directly participated in and was convicted

22   of two of the five murders for which he was held accountable – the killing of Payton and

23   Keys[, and] Johnson [was] convict[ed] for the murder of Payton and for the use of a firearm

24   in the murder of Edgar Watson.” See id. at 158-59.

25         In contrast to Bostick, here, Mr. Oseguera was not charged with a murder or murders.

26   In addition, unlike here, in Bostick, evidence was presented before the District Court to

27   establish that the murders actually occurred and were not the delusional fantasy of a

28   cooperating witness. In Bostick there was “overwhelming” evidence of the murders. See

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 1   id. at 159. The District Court was presented with evidence of real people, “Anthony Payton,

 2   Damien Jennifer, Robert Keys, Sherman Johnson, and Edgar Watson” all of whom were

 3   actually murdered and demonstrably dead. See id. at 158-59. Here, the Court has been

 4   presented with no such evidence. Here, unlike in Bostick, the Court has no names and no

 5   bodies. Here, the District Court, absent reliable or credible evidence, or corroborative

 6   evidence, is being asked to punish Mr. Oseguera for something that very well may not have

 7   happened, something that is a complete fiction. It is worth reminding the Court that courts

 8   have rightly “stressed repeatedly that informants as a class, although indispensable to law

 9   enforcement, are oftentimes untrustworthy.” United States v. Estrada, 904 F.3d 854, 865

10   (9th Cir. 2018). At the very least, “the testimony of witnesses receiving anything from the

11   Government in return for the witness’s cooperation must be examined with greater caution

12   than that of other witnesses.” Id. Given Gomez-Ancira’s uncorroborated testimony, and

13   that his testimony at times was proven to be contradicted and false by another more credible

14   Government witness, i.e. Maria Hernandez, the Court should not apply the alternative

15   minimum offense level of 43.

16         C.     Applicable Factors Pursuant to 18 U.S.C. § 3553(a)

17                1.     Nature and Circumstances of the Offense

18         The trial record provides sufficient information for the Court to consider when

19   evaluating the nature and circumstances of the offense. Much of the trial testimony relied

20   upon by the Government to justify their recommendation of two consecutive life terms is

21   unreliable, not credible, uncorroborated, and should be discounted by the Court. “[D]ue

22   process requires that a defendant be sentenced on the basis of accurate information. Thus,

23   a district court may consider any relevant information, ‘provided that information has

24   sufficient indicia of reliability to support its probable accuracy,’” United States v. Brewster,

25   116 F.4th 1051, 1060 (9th Cir. 2024) (citing United States Alvarado-Martinez, 556 F.3d 732,

26   734-35 (9th Cir. 2009) (citation omitted) (quoting U.S.S.G. § 6A1.3(a))). Below is an

27   analysis and cited examples that illustrate this point, i.e., much of the testimony relied upon

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 1   by the Government does not have sufficient indicia of reliability.5

 2            It is important to note in the first instance in summarizing the Government’s

 3   cooperating witness testimony is that Mr. Oseguera, the purported “Narco Prince” as labeled

 4   by the Government, was an after thought for every single one of the Government’s

 5   cooperating witnesses. Although each of the Government’s cooperating witnesses had been

 6   cooperating for years, and they had engaged collectively in 100 or more debriefs, none of

 7   them mentioned anything about Mr. Oseguera until specifically prompted to do so by the

 8   Government. For example, Oscar Nava-Valencia, aka “El Lobo” immediately began

 9   cooperating with they Government upon his extradition to the United States in 2011. See

10   September 9, 2024 Transcript (Afternoon session) at 49. He engaged in dozens of debriefs

11   with the Government and specifically discussed the CJNG, Mencho, Los Cuinis, but never

12   once mentioned Mr. Oseguera until 2017 (after Mr. Oseguera was indicted). See id. at 49-

13   63. The same can also be said of the Government’s other cooperating witnesses including

14   Elipidio Mojarro-Ramirez, Hermino Gomez-Ancira, Mario Ramirez-Trevino, Jose Antonio

15   Torres-Marrufo, and Jesus Contreras-Arceo. Mr. Oseguera was an after thought for each

16   one. The case against Mr. Oseguera was largely manufactured after he was indicted.

17            The Government’s reliance upon Gomez-Ancira is unique in this case as the vast

18   amount of the evidence relied upon by the Government to establish the elements of the

19   offenses charged, and to justify their sentencing recommendation, relies upon Gomez-

20   Ancira’s testimony.

21            The Government relies upon Gomez-Ancira to establish Mr. Oseguera was involved

22   with the distribution of “25,850 kilograms of cocaine over four separate occasions from

23   2012 to 2015[, and] over a million kilograms of methamphetamine.” See ECF 209 at 7-8.

24   The Government also relies upon Gomez-Ancira to establish Mr. Oseguera shot “one of [the

25   defendant’s escorts [] because he had not moved a truck from a location when [the

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27        As noted in Defendant’s Objections to the Presentence Investigation this would
   include the Joint Statement of Stipulated Facts as although signed by Mr. Oseguera was
28 translated for him and never reviewed with him by the Court.

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 1   defendant] told him to[, and] the defendant slash[ed] the throats of five men who were

 2   bound and forced to kneel.” See ECF 210 at 11, 14. Finally, the Government also relies

 3   upon Gomez-Ancira to establish “on May 15, 2015, the defendant ‘himself’ gave the order

 4   to ‘shoot down the helicopter’ while he and his father were fleeing Mexican authorities.”

 5   Id. at 14.

 6          The Government’s reliance upon Gomez-Ancira to establish the distribution of

 7   cocaine and methamphetamine is misplaced. In examining Mr. Gomez-Ancira’s testimony

 8   none of it was corroborated by any other witness or evidence. In relation to the drug

 9   distribution and Mr. Oseguera, Gomez-Ancira did not have personal knowledge as to Mr.

10   Oseguera’s involvement, at least not to any transaction that occurred prior to April of 2015.

11   With regard to the several transactions prior to April of 2015, Gomez-Ancira stated, “I could

12   never talk to Menchito. No one could. Only the ones that were chosen. They would always

13   put me in contact with him.” See September 12, 2024 Transcript (Afternoon session) at 26.

14   “The other person holds the phone here and then you talk.” Id. “I did not have the ability

15   to contact him [Menchito].” Id. at 27. “The communication was always through another

16   person.” Id. For any of the alleged transactions that occurred prior to April of 2015, prior

17   to the time Gomez-Ancira claimed to have met Mr. Oseguera in person for the first time,

18   Gomez-Ancira had no personal knowledge as to who was involved with these transactions.

19   And again, there was no corroboration.

20          With regard to the methamphetamine distribution for example, if Gomez Ancira was

21   responsible for transporting over a million kilograms of methamphetamine between 2012

22   and 2015 and picked up hundreds of barrels of methamphetamine from the various labs as

23   he claimed, then how can it be explained that Jesus Contreras-Arceo, another government

24   cooperating witness, who claimed to have been “in charge of the [methamphetamine]

25   kitchens” didn’t know or have any interaction with Gomez-Ancira? It is an impossibility

26   that the person in charge of transportation of the product from the labs or kitchens for a four

27   year period would have no interaction with the person running those labs or kitchens. In

28   addition, during his testimony, Gomez-Ancira stated that, “ I would [] bring[] whatever the

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 1   [methamphetamine] cooks would need, things like that.” September 11, 2024 Transcript

 2   (Afternoon session) at 14-16. Again, if this were true, he would have been known to

 3   Contreras-Arceo, the person in charge of the “kitchens.” However, neither knew each other

 4   or had any involvement with each other.

 5         With regard to the two events in April of 2015, a 5 ton cocaine load, and a 20 ton

 6   cocaine load, Gomez-Ancira would like the Court to believe that he and about a dozen or

 7   more other municipal police officers, the entire municipal police department from Villa

 8   Purificacion, while in full uniform, carried by hand the ton quantities of cocaine in the sand

 9   on the beach from boats to the awaiting trucks on shore. See September 12, 2024 Transcript

10   (Afternoon session) at 28-31. Setting aside the general implausibility of the entire

11   municipal police department from Villa Purificacion, in uniform, hand carrying on the beach

12   tons of cocaine from the boats to the awaiting trucks, the question must be asked, if Mencho

13   controlled the port of Puerto Vallarta, why would he off-load ton quantities of cocaine on

14   the beach? This method of operation would appear to be inconsistent with the known

15   operations of the CJNG that utilized and controlled the port in Puerto Vallarta. And again,

16   of course, no corroborative testimony or evidence to support Gomez-Ancira’s “ton” tale.

17         With regard the two described incidents of violence, Gomez-Ancira’s testimony is

18   pure fiction. Gomez-Ancira testified that all six purported murders occurred in the same

19   month, April of 2015, five in Alvarado, Jalisco, and one at Gomez-Ancira’s wedding in

20   Villa Purificacion, Jalisco. Certainly there would have been some official reports generated

21   by either the disappearance or murder of these six individuals. Certainly some family

22   member or loved one would have reported something. Given the narrowed dates and

23   locations certainly some corroboration of these events would exist. Certainly, given that

24   over 10,000 people, the entire residency of Villa Purificacion, were in attendance at Gomez-

25   Ancira’s wedding that at least one person would have reported the murder described by

26   Gomez-Ancira. Assuming Mr. Oseguera was on trial for these murders there can be no

27   question any rational trier of fact would reject Gomez-Ancira’s uncorroborated claims. It

28   is also important for the Court to consider that Gomez-Ancira, prior to his testifying in

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 1   Court, never mentioned anything about Mr. Oseguera killing five people with a knife. Not

 2   in any of his debriefs did he ever mention anything about this event. And again, the account

 3   he testified to at trial is not in his “journal.” There is a logical and reasonably explanation

 4   for all of the above, and that is simply it was made up, pure fiction. It just never happened.

 5            Now, in addition to the outlandish fictional claims uncorroborated by any evidence

 6   there are a few things the Court must remember about Gomez-Ancira. He is a paid

 7   Government witness. He was paid $86,500.00 dollars by the Government. See September

 8   12, 2024 Transcript (Afternoon session) at 62. He has also been granted asylum to remain

 9   in the United States despite having multiple felony convictions and having been deported

10   in the past. He has committed identity theft. See September 11, 2024 Transcript (Afternoon

11   session) at 6; see also September 12, 2024 (Morning Session) at 33. The content of his

12   testimony was likely the result of searching “Jalisco, State of Fear,” on the internet. See

13   September 12, 2024 Transcript (Morning session) at 50-51. He was aware, “[i]t’s in the

14   news and everything.” September 12, 2024 (Morning Session) at 42. According to Gomez-

15   Ancira all of his experience with the cartel from 2011 to 2015 was “public information[,]

16   [i]t’s in the news and everything.” See id. at 41-42.

17            Although Gomez-Ancira claimed to be illiterate, he was not. Although he claimed

18   to be illiterate, he also claimed to have a “journal” that was a contemporaneous record of his

19   experiences with Mr. Oseguera, but it was not. See September 12, 2024 (Morning Session)

20   at 41-47.6 He said he needed the journal “because my memory is not so good that I can

21   remember every single thing exactly, which is why I make notes to remember things.” See

22   id. at 45. Everything he testified about during direct, “[i]t [was] all there [in the journal].”

23   Id. at 47. It was not. The problem for this Court when evaluating Gomez-Ancira’s

24   credibility and trustworthiness is that absolutely nothing seems plausible, is not

25   corroborated, and was not memorialized in his “journal.” Despite having met with law

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27         He also claimed his original notes were “damaged” and about a year before the trial
     he rewrote his “journal.” See September 12, 2024 Transcript (Afternoon session) at 5-6.
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 1   enforcement in 2016 he stated nothing about the above. In fact, the first claims of any of

 2   the above didn’t exist until years later in 2020 after news of Mr. Oseguera’s extradition to

 3   the United States.

 4            Furthermore, when evaluating Gomez-Ancira’s credibility, Gomez-Ancira

 5   contradicted himself several times during his testimony. When asked about the photographs

 6   in his briefcase at the time he met with the FBI in 2016 he stated “In terms of photographs,

 7   there were photographs of the people, of the parties, things such as that[,]” but then later on

 8   during his testimony when asked to describe the pictures from the parties in his briefcase

 9   he stated, there were “no[] pictures of the parties because no one could take pictures at the

10   parties where they were at, although someone did make a video of my wedding.” See

11   September 12, 2024 Transcript at 48-49, 75. Of course he didn’t have any photographs nor

12   did he have a wedding video. Despite 10,000 people in attendance at his wedding7, and not

13   one photograph or video exists. Id. at 75-80. It is important to note for the Court, according

14   to Gomez-Ancira, the contents of the briefcase in which he claimed to have material that

15   corroborated his testimony at trial would have been available to him at the time he began

16   cooperating with the Government in this case. See September 12, 2024 Transcript

17   (Afternoon session) at 6 (Q - “So the contents of your briefcase were available to you a year

18   ago [?]” A - “Yes.”).

19            The Court should also take into account that Gomez-Ancira claimed that in June of

20   2016, when he was interviewed by two FBI agents, he specifically told the interviewing

21   agents he “wanted to talk about [] the Cartel Jalisco Nueva Generacion, [] specifically El

22   Mencho.” See September 12, 2024 Transcript (Afternoon session) at 7. Gomez-Ancira told

23   the FBI about Mencho and about the cartel being trained by members of ISIS. See id.

24   Specifically, Commander Israel and Commander Pakistan. See id. at 12. Despite the FBI

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26        Gomez-Ancira explained there were 10,000 people at his wedding because “In Villa
   Purificacion, I am the son of the people. Everyone loves me there[,] [a]nd everyone was
27 there.” See September 12, 2024 Transcript (Morning session) at 76. It was a “very
   expensive” affair that his “godfather” Mencho paid for, and Gomez-Ancira even received
28 a message from Mencho’s wife, “You are my Godson.” See id.

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 1   agents knowing who El Mencho was, and that according to Gomez-Ancira he had a

 2   briefcase full of corroborating documents and a contemporaneous “journal” of his

 3   experience with El Mencho, the FBI agents surprisingly were “not interested.” See id.

 4   Surprisingly, rather than develop Gomez-Ancira as a cooperating witness, the FBI referred

 5   him for prosecution for illegal entry. See id. This decision shockingly would have been

 6   after May 1, 2015, when the CJNG shot down a military helicopter in Mexico using .50

 7   calibers machine guns and an RPG rocket launcher. Reason and common sense tells us the

 8   FBI would be very interested in information about a drug cartel receiving material support

 9   from a terrorist organization especially when that support had just resulted in the take down

10   of a Mexican military helicopter. The FBI would want to develop the source of information,

11   especially if that source had corroborative documents and was a percipient witness to such

12   events (as Mr. Gomez-Ancira claimed during his testimony). However, the FBI would only

13   be interested if, and only if, that source was reliable and credible. The FBI quickly (but not

14   too quickly as they allegedly kept Gomez-Ancira’s briefcase and its contents for months for

15   evaluation) came to the same conclusion as the defense, and the same conclusion the Court

16   must make, Gomez-Ancira’s story is more fiction than fact, a fantasy really. See September

17   12, 2024 Transcript (Afternoon session) at 8-10 (briefcase held). Gomez-Ancira himself

18   conceded the FBI could not verify any of his claims in relation to Mexican cartel operations

19   or ISIS. See id. at 10. The FBI couldn’t verify any of Gomez-Ancira’s claims because they

20   were fiction, an exaggerated fantasy.

21         It is important to also add that Gomez-Ancira told immigration authorities the same

22   story after he was referred by the FBI to immigration, and they “just laughed[, as] [t]hey

23   must have thought I was crazy in my mind.” See id. at 16. Although not clear, according

24   to Gomez-Ancira after he told his story to the immigration officials, “[T]hey decided to do

25   that [evaluate him] when I told them that [the story about Commanders Israel and Pakistan

26   training the cartel].” See id. “They only kept me there for a week, and then they just took

27   me out with the rest of the people, like normal.” Id. Similar to the FBI, immigration

28   authorities did not credit Gomez-Ancira’s claims. Neither should this Court.

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 1         Finally, the Government also relies upon Gomez-Ancira to establish “on May 15,

 2   2015, the defendant ‘himself’ gave the order to ‘shoot down the helicopter’ while he and his

 3   father were fleeing Mexican authorities.” Id. at 14. There’s nothing in his “journal” about

 4   that extraordinary event. Gomez-Ancira’s testimony is not only inconsistent and internally

 5   contradictory, but also demonstrably false.

 6         Gomez-Ancira claimed on May 1, 2025, while in the hospital in Guadalajara, Mexico,

 7   suffering from life-threatening pneumonia, he received a radio call on “loud speaker” from

 8   “Menchito [], Pelon, my godfather Cuate and Abram.” See September 11, 2024 Transcript

 9   (Afternoon session) at 66. “All of them were there. They were already out of danger, but

10   they were upset.” Id. Gomez-Ancira, then testified during that communication, Mr.

11   Oseguera said, “you know, shoot down the helicopter.” Id. at 67. According to Gomez-

12   Ancira when this order was given “they”, meaning “Menchito [], Pelon, [his] godfather

13   Cuate and Abram” “were already somewhere else.” See id. Gomez-Ancira then “pass[ed]

14   along the order they gave” while he was in the hospital. Id. He would later add during

15   redirect testimony, inconsistent with the above, that he heard Mr. Oseguera and his father

16   “speaking at the same time” over the speaker phone, “[b]ut [he] could hear Menchito giving

17   the order at the same time as his father.” See September 12, 2024 Transcript (Afternoon

18   session) at 71. Gomez-Ancira had not previously identified Mr. Oseguera’s father, Mencho,

19   as being on the “speaker phone.” Gomez-Ancira also testified, “[It] was ‘Beto’ who fired

20   the RPG that took down the helicopter.” September 12, 2024 Transcript (Afternoon session)

21   at 58. Gomez-Ancira’s testimony was a mixture of researched facts, “public information []

22   in the news and everything[,]” but a fiction as to the role he played in the events. See

23   September 12, 2024 Transcript (Afternoon session) at 42.

24         First, according to Gomez-Ancira when Mr. Oseguera gave the order to “shoot down

25   the helicopter” they were “out of danger.” Id. at 66. This does not track at all with the

26   testimony of the surviving witness from the helicopter, Ivan Morales, who explained the

27   helicopter was attacked immediately upon arriving upon the caravan of trucks allegedly

28   occupied by Mr. Oseguera, his father, and other members of the CJNG. See September 16,

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 1   2024 Transcript (Morning session) at 14-16. Morales explained, “They started shooting at

 2   us. We did not fire shots at any point.” Id. at 15. “We were welcomed with shots. We were

 3   downed, and we were never the ones who were the aggressors.” Id. at 29-308 “Time” went

 4   by “very fast” between the time the helicopter was attacked and when it went down. Id. at

 5   33. If Mr. Oseguera was “out of danger” this would have been then after the helicopter was

 6   already shot down. Gomez-Ancira’s time-line and testimony just do not track with the

 7   events that occurred on May 1, 2015. The inconsistency between Gomez-Ancira’s

 8   testimony is only the result of his fabricated fantasy.

 9            Second, Gomez-Ancira’s insertion of himself into the chain of command and passing

10   along orders makes little sense at all. Why would Mr. Oseguera need to radio Gomez-

11   Ancira in the hospital an order to “shoot down the helicopter” only to be relayed to members

12   of the caravan if Mr. Oseguera was among the members of the caravan himself? Of course

13   radio equipment was recovered from the trucks in the caravan and among the debris

14   surrounding the abandoned trucks used by the CJNG. Wouldn’t it make more sense that Mr.

15   Oseguera was in radio contact with the other trucks in the caravan, and any order to “shoot

16   down the helicopter” could be directly relayed to those other trucks in the caravan? There

17   was no reason to use Gomez-Ancira as a conduit in the command structure which would

18   seem an inefficient way to communicate emergency commands from one truck in the

19   caravan to another truck in the caravan. Gomez-Ancira inserted himself into the chain of

20   command because he was the star in his own fantasy story. The Court should not accept or

21   believe his fantasy.

22            Gomez-Ancira also testified that on May 1, 2015, the day of the helicopter incident,

23   despite being hospitalized in Guadalajara, Mexico, he had driven three and half hours to the

24
          8
25
          It is important to note that Gomez-Ancira stated during his news interview that the
26 helicopter   attacked the convoy and opened fire first, and then confirmed when he testified
   the statement he made during the news interview was true as “It was the helicopter that
27 started shooting there [at] them [the cartel convoy], that they [the cartel convoy] were
   resting. See September 12, 2024 Transcript (Afternoon session) at 56-57. This of course
28 was in contradiction to Ivan Morales’ testimony.

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 1   helicopter crash site. He “was very sick[, with] [] an infection in 50 percent of [his] lungs.”

 2   See September 11, 2024 Transcript (Afternoon session) at 68. He was “deathly ill with

 3   pneumonia.” See September 12, 2024 Transcript (Morning session) at 54. While in the

 4   hospital he was ordered by Mencho to return to Villa Purificacion “to the place where they

 5   shot down the helicopter [] [to] pick up all the weapons there.”9 See September 11, 2024

 6   Transcript (Afternoon session) at 68. During this time, according to Gomez-Ancira, there

 7   were approximately “16,000" military and law enforcement agents in the area, “maybe even

 8   more than 20,000.” See September 12, 2024 Transcript (Morning session) at 60. However,

 9   according to Gomez-Ancira, he gathered up all of the weapons as ordered, right under their

10   noses, including those specifically in Government’s exhibits 138 and 159 (RPG launcher10

11   and rocket round), put them in a black bag, and hid them in a cave. See id. at 62-68. During

12   this time, he also moved some of the trucks in the CJNG convoy. See September 11, 2024

13   Transcript (Afternoon session) at 70. Gomez-Ancira, also during this time, according to his

14   testimony, managed to rescue “47 or 50" of Mencho’s injured soldiers, “17" of which were

15   wounded with “serious injuries” from being “shot in the belly and in the feet.” See

16   September 12, 2024 Transcript (Morning session) at 70. The injured soldiers were all taken

17   to Gomez-Ancira’s home in the center of town in Villa Purificacion. Id. at 71. They were

18   given “a change of clothes [and] money,” and sent off in a taxi or an ambulance. Id. In

19
          9

20       It is important to mention that Jesus Contreras-Arceo, aka “Canasto,” another
   cooperating witness for the Government, testified in contradiction to Gomez-Ancira’s claim
21 about receiving orders over a radio that “Mencho” never used a radio himself and no one
   would ever hear “Mencho’s” voice over a radio. See September 18, 2024 Transcript
22 (Afternoon session) at 24-25.
          10
23
           It is important to note for the Court when determining Gomez-Ancira’s credibility and
24 reliability that Gomez-Ancira claimed that the RPG he retrieved and then hid in the cave
   was exactly that used to take down the helicopter. See September 12, 2024 Transcript
25 (Afternoon session) at 61-65. Multiple RPGs were recovered in the area. According to
   Gomez-Ancira at the time the RPG was fired to take down the helicopter he was in a
26 hospital in Guadalajara hours away. How would he know which RPG was used? He
   wouldn’t, and he couldn’t. He “was not at the location where the clash took place.” Id. at
27 58-59. And, just to mention, Gomez-Ancira’s fingerprints weren’t on the RPG. Again, this
   all just leads to one undeniable conclusion, Gomez-Ancira’s testimony is pure fantasy.
28

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 1   addition, Gomez-Ancira testified that in a truck purportedly used by the cartel that he had

 2   moved were gold bars (between 50 and 100), and money which he left in the truck. See id.

 3   at 72. Somehow, despite dying of pneumonia, after having recovered weapons, moved

 4   convoy trucks, and having rescued injured cartel soldiers, all right under the noses of tens

 5   of thousands of law enforcement officers, Gomez-Ancira managed to sit for a television

 6   news interview for a network covering the helicopter incident. See id. at 73. He seemed

 7   cool, calm, and collected during the interview for someone dying of pneumonia and under

 8   the threat of death to following out Mencho’s orders to recover the weapons, rescue the

 9   cartel soldiers, and move the convoy trucks. Gomez-Ancira’s story is just so implausible

10   that it reeks of someone suffering from a mental illness, a person who can readily weave fact

11   with fiction convinced the fiction is fact.11 Someone, who is, as Gomez-Ancira stated,

12   “crazy in [the] mind.” See September 12, 2024 Transcript (Afternoon session) at 16. Of

13   course, and again it is worth noting, none of the above can be found in Gomez-Ancira’s

14   “journal.”

15         In direct contradiction to Gomez-Ancira’s testimony, Maria Hernandez, a prosecutor

16   for the Attorney General’s Office of Mexico, testified on behalf of the Government, and she

17   stated unequivocally, she and her team used placards and photographs to indicate where

18   evidentiary items were found, and Government exhibits 138 and 159 were not found in a

19   black bag in a cave. See September 13, 2024 Transcript (Afternoon session) at 62-71. In

20   fact, no weapons were found in a black bag, or a cave, or in a black bag in a cave. She also

21   did not find gold bars or money, and if found, the gold bars or money would have been

22
          11
23
            Delusional Disorder is an illness where a person manifests delusions that are a mix
24   of reality and fantasy, where they firmly believe the fabricated parts are real, and even when
     confronted with evidence to the contrary of their false beliefs they cannot accept it. These
25   delusions generally involve grandiosity, such as in Gomez-Ancira’s case believing Mencho
     is his godfather, having a wedding with over 10,000 attendees as he was the son of the
26   people and everyone loved him, making a promise to Mencho that he would only get
     married after Mencho’s son, Menchito, was released from custody, playing a critical role in
27   a sensational news event like the helicopter incident etc..., or persecution, such as in Gomez-
     Ancira’s case believing that he was kidnaped along with five other people who were killed
28   in front of him and he was the lone survivor.
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     secured as evidence in the investigation. See id. at 71. Her testimony simple cannot be
 1
     reconciled with Gomez-Ancira’s. What motivation could she have to fabricate where the
 2
     weapons were found? She had none. If she found the weapons in the cave and then
 3
     scattered them about the fields and placed them back in the trucks, which was suggested by
 4
     Gomez-Ancira, she couldn’t have done it alone. See September 12, 2024 Transcript
 5
     (Morning session) at 66. The weapons, as witnessed by the Court, were numerous and
 6
     heavy. Now, when Mr. Gomez-Ancira was confronted with this contradiction, his response
 7
     was, “I am telling you I never lie.” Id. at 67. Given the irreconcilable contradiction between
 8
     Gomez-Ancira’s testimony and that of Maria Hernandez, the Court must conclude, Gomez-
 9
     Ancira lied. He lied about material facts to the Court and to the jury, and thus, the totality
10
     of his testimony should be ignored.
11
           There is still more to doubt Gomez-Ancira’s testimony. After the helicopter incident
12
     on May 1, 2015, Gomez-Ancira was detained by state authorities in Jalisco, Mexico for
13
     investigation. They detained Gomez-Ancira as the Director of Public Security for Villa
14
     Purificacion along with all 20 of the officers in the department of Public Security. See
15
     September 12, 2024 Transcript (Afternoon session) at 50-51. The Director of Public
16
     Security, Daniel Ruelas-Zuazo, for an adjacent municipality, Union de Tula, was also
17
     detained with all of his officers for investigation. Id. at 51. Gomez-Ancira claimed that it
18
     was at this time, along with the other officers, that he was kidnaped and tortured by “El
19
     Viente.” See September 11, 2024 Transcript (Afternoon session) at 17-20; see also
20
     September 12, 2024 Transcript (Afternoon session) at 34-39. He then claimed that the
21
     group of special forces killed five of the other officers he was with, but despite being
22
     tortured and “severely beaten” for seven days suffering a broken collar bone, a broken hand,
23
     broken feet, being shot in both the head and leg, losing a lot of blood, and still suffering
24
     from pneumonia, somehow he “dragged [himself], as fast as [he] could, to a cane field
25
     nearby.” See id. at 20; see id. at 39. His kidnapers “didn’t even count the bodies” of the
26
     dead and “it’s for that reason” Gomez-Ancira survived. Id. at 20. It was at this time
27
     Gomez-Ancira fled to the United States with his then pregnant wife. During his three month
28

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     journey to the United States he “healed [himself] with the pulp of aloe vera[,]” as that was
 1
     “all [he] could eat.” See September 12, 2024 Transcript (Afternoon session) at 43; see also
 2
     September 11, 2024 Transcript (Afternoon session) at 20. He also healed himself with
 3
     “powdered penicillin, with the leaves of the guava fruit and chewing those leaves.” See
 4
     September 12, 2024 Transcript (Afternoon session) at 43. He healed his pneumonia with
 5
     “ten lemons, one pineapple, two cinnamon sticks, honey from bees, [and] a chunk of ginger
 6
     root.” Id. at 44. Upon arriving in the United States Gomez-Ancira did not seek medical
 7
     treatment or request asylum. Id. at 43.
 8
          Again, the above fantastical tale was not corroborated by any evidence or testimony.
 9
     Gomez-Ancira did not have any physical scars consistent with a gun shot wound to his head
10
     or leg. Most notably, there are no reports of any missing or murdered police officers as
11
     claimed by Gomez-Ancira. Reason and common sense again dictates that if there were
12
     multiple murders of police officers from either Villa Purificacion or Union de Tula, there
13
     would have been reports of the murders. It should be easy to verify or establish that
14
     multiple police officers were kidnaped and murdered in the aftermath of the helicopter
15
     incident. The Government had access to Maria Hernandez, a Mexican Federal prosecutor,
16
     who lead the investigation of the helicopter incident, and there was absolutely no
17
     information that corroborated Gomez-Ancira’s tale.
18
           Also of note is that Gomez-Ancira although detained by Mexican law enforcement
19
     after the incident for investigative reasons, was released, and not charged. Reason and
20
     common sense dictates that if Gomez-Ancira was in fact the person who relayed the
21
     command to take down the helicopter, or provided the transportation to the cartel, while in
22
     official police uniform with the entire police department, of ton quantities of cocaine and
23
     a million kilograms of methamphetamine, or tampered with the crime scene after the
24
     helicopter incident by moving weapons and convoy trucks, or provided assistance to cartel
25
     soldiers who were injured in the shootout with the helicopter, Gomez-Ancira would have
26
     been charged, as many others were in Mexico, with crimes relating to the helicopter
27
     incident. Gomez-Ancira was released without prosecution because all of his claims were
28

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     fictional and not fact. Nothing about Gomez-Ancira’s story adds up, or was corroborated
 1
     in the most simple terms, and thus, must be entirely ignored by the Court.
 2
           Yet the Government repeatedly relied upon Gomez-Ancira’s testimony at trial to
 3
     establish several elements of the charged offenses, and relies in its sentencing memorandum
 4
     on Gomez-Ancira’s testimony to justify a recommendation of two consecutive life
 5
     sentences. Given the absurdity of Gomez-Ancira’s testimony and that his testimony was
 6
     demonstrably false, the Government was obligated to correct or withdraw his testimony
 7
     rather than doubling down on it. See Napue v. Illinois, 360 U.S. 264 (1959) (The
 8
     prosecution’s introduction of false testimony deprives a defendant of a fair trial). Indeed,
 9
     “[t]he Government’s use of knowingly misleading testimony [] is deeply disappointing and
10
     troubling behavior, unbefitting those who litigate in the name of the United States.” United
11
     States v. Straker, 800 F.3d 570, 604 (D.C. Cir. 2015).
12
           Other Government cooperating witness testimony is problematic as well.
13
           According to Oscar Nava-Valencia, a man admittedly responsible for the torture and
14
     murder of countless people, he began cooperating with the Drug Enforcement
15
     Administration in 2011 and was asked about the hierarchy of the cartel. See September 9,
16
     2024 Transcript (Afternoon Session) at 49-64. He did not mention anything at all about Mr.
17
     Oseguera. Nava-Valencia did not have any personal knowledge of drug trafficking activity
18
     that occurred in the cartel after October of 2009. See id. at 27. Although Nava-Valencia
19
     had been cooperating for approximately six years he failed to mention anything at all during
20
     his prior 50 or so debriefs about Mr. Oseguera until 2017, after, Mr. Oseguera-Gonzalez was
21
     arrested in Mexico. See id. Six years after his cooperation had begun, Nava-Valencia then
22
     claimed Mr. Oseguera was made second in command to “Mencho,” Mr. Oseguera’s father,
23
     of the Puerto Vallarta plaza, even though he would have only been 14 or 15 years old at the
24
     time. See id. at 63-64.
25
           In contradiction to the testimony of Nava-Valencia, and likely closer to the truth,
26
     according to Elipidio “Pilo” Mojarro-Ramirez, in the 2009 and 2010 period, Mr. Oseguera
27
     was “too young and not involved with drug trafficking.” See September 10, 2024 Transcript
28

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     (Afternoon Session) at 61. Mr. Oseguera was not part of the hierarchy of the cartel. See id.
 1
     at 59. He was simply present and listened to conversations. See id. at 61. After May of
 2
     2010, “Pilo” had no personal knowledge as to the drug trafficking activities of Mr.
 3
     Oseguera. See id. at 12. At most, if the Court were to believe anything “Pilo” testified to,
 4
     Mr. Oseguera was a courier picking up either cocaine or money. See September 10, 2024
 5
     Transcript (Morning session) at 61-63. And according to “Pilo’s” ledger, Mr. Oseguera
 6
     picked-up only 1 kilogram of cocaine.
 7
           Antonio Torres-Marrufo, aka “The Jaguar,” an admitted sicario, or hitman,
 8
     responsible for personally caring out dozens of murders (several of which were at a
 9
     wedding), sentenced to 40 years custody, testified that he attended a meeting in 2010, and
10
     speculated that Mr. Oseguera played “an important role” in the cartel, “second to his father,”
11
     because when Torres-Marrufo asked “Mencho” for “some weapons,” “Mencho” told Mr.
12
     Oseguera to talk to his “compadre” to get the weapons for Torres-Marrufo. See September
13
     17, 2024 Transcript (Morning session) at 13-14. Torres-Marrufo also testified that while
14
     in prison together in Mexico he witnessed Mr. Oseguera sign paintings Mr. Oseguera made
15
     with “RO II” which he believed “the Number 2 is his level in the organization.” Id. at 28-
16
     29. Again, however, no corroboration of the purported meeting, and no corroboration of any
17
     painting. Importantly, similar to with Nava-Valencia, despite Torres-Marrufo’s cooperation
18
     for years, these stories were delayed and only conveyed to the Government years after his
19
     cooperation began. In addition, and in contradiction, Mario Ramirez-Trevino, another
20
     cooperating witness for the Government, was also in custody with Mr. Oseguera and Torres-
21
     Marrufo at the same time, yet Ramirez-Trevino didn’t testify about anything relating to
22
     signed paintings prepared by Mr. Oseguera.
23
           Finally the Court heard the testimony of Jesus Contreras-Arceo, aka “Canasta.” He
24
     was sentenced to 35 years custody. See September 18, 2024 Transcript (Afternoon session)
25
     at 13. Contreras-Arceo testified he “was the one in charge of the [methamphetamine]
26

27

28

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     kitchens.”12 See September 18, 2024 Transcript (Morning session) at 50. He testified, “My
 1
     thing [was] kitchens.” Id. at 51. Contreras-Arceo said he “didn’t know anything about
 2
     anything. Just [his] thing [were] the kitchens, and that’s it.” Id. at 89. Despite claiming not
 3
     to “know anything about anything,” Contreras-Arceo testified that beginning in 2009, Mr.
 4
     Oseguera was the Number 2 leader of the cartel, second only to Mr. Oseguera’s father, and
 5
     above his older step-brother, “Pelon.” See id. at 10-11. However, Contreras-Arceo did not
 6
     have any direct contact with Mr. Oseguera as he was in communication with “Gary[,]” Mr.
 7
     Oseguera’s father’s “secretary.” See id. at 11. Mr. Oseguera accompanied his father to
 8
     meetings attended by Contreras-Arceo. See id. at 15-16.
 9
           Contreras-Arceo, like all of the other cooperating witnesses who testified on behalf
10
     of the Government, testified with the hope of receiving some benefit. He wanted to avoid
11
     the life-plus 20 years he was facing as a result of his guilty plea. See id. at 49. However,
12
     he contradicted himself by also claiming he had no hope for any reduction in his sentence.
13
     See September 18, 2024 Transcript (Afternoon session) at 9-10. Contreras-Arceo conceded
14
     that in his very detailed factual basis, although it states his relationship to Mr. Oseguera’s
15
     father as the head of the cartel, it mentions nothing about Mr. Oseguera himself. See
16
     September 18, 2024 Transcript (Morning session) at 54-55. He also conceded he never
17
     directly communicated with Mr. Oseguera. See id. at 55-56. Again, the evidence presented
18
     by the Government was unreliable and should not be relied upon by the Court when
19
     considering any fact of consequence at sentencing.
20
                  2.     History and Characteristics of the Defendant
21
           Pursuant to 18 U.S.C. § 3553(a), this Court should consider Mr. Oseguera’s personal
22
     history when determining the appropriate sentence for his offense. There are aspects of Mr.
23
     Oseguera’s history and characteristics the Court should focus on that are mitigating.
24

25

26
          12
27
         These “kitchens” are distinguishable from the “kitchens” used by Mario Ramirez-
28 Trevino and his cartel members to “cook” people.
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           The United States Probation Department in the Presentence Investigation Report
 1
     provided a cursory, yet accurate summary of Mr. Oseguera’s background:
 2
           “[Mr. Oseguera] has no prior convictions[,] he is married and has three [minor]
 3
     children ranging in age from 9 to 14. Medically speaking, [Mr. Oseguera] is in good
 4
     health[,] but reports ongoing issues with anxiety and insomnia[.] [He has] expressed
 5
     willingness to seek mental health services going forward. He [does not] hav[e] any drug use
 6
     history or excessive alcohol since 2015. [He] lacks a high school diploma or GED and
 7
     reports previously working in landscaping.” See ECF 211 at 2. What the summary
 8
     excludes, however, and what should be considered here is that Mr. Oseguera is viewed as
 9
     a loving father, brother, and friend. See Exhibit A - Sentencing Support Letters. In
10
     addition, he grew up in an unstable environment wrought with violence and corruption, an
11
     environment dominated by his father who it appears recruited Mr. Oseguera’s participation
12
     in the conspiracy at the age of 14 when he was only a minor. Mr. Oseguera is as much as
13
     anyone both a product and a victim of that environment. What the summary excludes, and
14
     counsel has experienced, is that Mr. Oseguera is a quiet, thoughtful, respectful young man
15
     that enjoys reading (both fiction and non-fiction), and discussing all that he has read.
16
           Although Mr. Oseguera is currently 35 years old, he’s been in custody for ten years,
17
     and the Court must consider at sentencing the age he was at the time of the offense, not his
18
     age now. To the extent that any of the Government’s cooperating witnesses’ testimony can
19
     be credited, Mr. Oseguera was about 14 or 15 years old when he was recruited to participate
20
     in the conspiracy.13 At the time of his arrest in 2015, he was 25 years old. The Court then
21
     must consider that during the course of the conspiracy Mr. Oseguera was either a minor or
22
     a youthful offender, but never an adult.
23
           Pursuant to U.S.S.G. § 5H1.1 Age (Policy Statement):
24
           Age may be relevant in determining whether a departure is warranted.
25

26
          13

27       The Superseding Indictment alleges the conspiracy began in and around 2007, and
   continued to 2017. See ECF 6. Therefore, according to the Government’s own allegations,
28 Mr. Oseguera was 17 years old at the time conspiracy began.

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           A downward departure [] may be warranted due to the defendant’s
 1         youthfulness at the time of the offense or prior offenses. Certain risk
           factors may affect a youthful individual’s development into the mid-20's
 2         and contribute to involvement in criminal justice systems, including
           environment, adverse childhood experiences, substance abuse, lack of
 3         educational opportunities, and familial relationships. In addition,
           youthful individuals generally are more impulsive, risk- seeking, and
 4         susceptible to outside influence as their brains continue to develop into
           young adulthood. Youthful individuals also are more amenable to
 5         rehabilitation.
 6         The age-curve, one of the most-consistent findings in criminology,
           demonstrates that criminal behavior tends to decrease with age. Age-
 7         appropriate interventions and other protective factors may promote
           desistance from crime. Accordingly, in an appropriate case, the court
 8         may consider whether a form of punishment other than imprisonment
           might be sufficient to meet the purposes of sentencing.
 9
     See U.S.S.G. § 5H1.1 Age (Policy Statement) (2024). The Supreme Court has affirmed that
10
     “developmental differences in juveniles make them categorically less culpable than adults.”
11
     Roper v. Simmons, 543 U.S. 551, 574 (2005). Specifically, the Supreme Court has cited
12
     their lack of maturity and impulsiveness; limited control over their environment; increased
13
     vulnerability to peer pressure; and unformed character. See id. “[A]s any parent knows and
14
     as the scientific and sociological studies ... tend to confirm, ‘[a] lack of maturity and an
15
     underdeveloped sense of responsibility are found in youth more often than in adults and are
16
     more understandable among the young. These qualities often result in impetuous and ill-
17
     considered actions and decisions.’” United States v. Lara, 658 F.Supp.3d 22, 30 (Dist. C.
18
     Rhode Island 2023) (citing Roper, 543 U.S. at 578). It has been noted that “adolescents are
19
     over-represented statistically in virtually every category of reckless behavior.” See id.
20
     Youthful offenders “are more vulnerable or susceptible to negative influences and outside
21
     pressures, including peer pressure,” and youthful offenders also do not have a well formed
22
     character. See id. at 30-31 (citing Roper, 543 U.S. at 578).
23
           The Supreme Court has further stated:
24
           Developments in psychology and brain science continue to show
25         fundamental differences between juvenile and adult minds. For
           example, parts of the brain involved in behavior control continue to
26         mature through late adolescence. Juveniles are more capable of change
           than are adults, and their actions are less likely to be evidence of
27         irretrievably depraved character than are the actions of adults. It
           remains true that from a moral standpoint it would be misguided to
28

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           equate the failings of a minor with those of an adult, for a greater
 1         possibility exists that a minor’s character deficiencies will be reformed.
 2   See Graham v. Florida, 560 U.S. 68-69 (2010).
 3         The Supreme Court recently concluded:
 4         Roper and Graham establish that children are constitutionally different
           from adults for sentencing purposes. Their “‘lack of maturity and
 5         “‘underdeveloped sense of responsibility’” lead to recklessness,
           impulsivity, and heedless risk taking. Roper, 543 U.S. at 569. They “are
 6         more vulnerable ... to negative influence and outside pressures,” including
           from their family and peers; they have limited “contro[l] over their own
 7         environment” and lack the ability to extricate themselves from horrific,
           crime-producing settings. Ibid. And because a child’s character is not as
 8         “well formed” as an adult’s, his traits are “less fixed” and his actions are
           less likely to be “evidence of irretrievabl[e] depravit[y].” Id., at 570.
 9         Roper and Graham emphasized that the distinctive attributes of youth
           diminish the penological justifications for imposing the harshest sentences
10         on juvenile offenders, even when they commit terrible crimes.
11   Miller v. Alabama, 567 U.S. 460, 464, 471-472 (2012). Thus, the Supreme Court instructs
12   that juveniles or youthful offenders who commit even the most serious or violent crimes can
13   change their behaviors. See e.g., Graham, 560 U.S. at 68-69; Roper, 543 U.S. at 569.
14         In other words, youthful offenders are salvageable as the evolving character of
15   emerging adults leads to a higher likelihood of reformation. “[Y]outh is more than a
16   chronological fact.” Miller v. Alabama, 567 U.S. at 476 (citing Eddings v. Oklahoma, 455
17   U.S. 104, 115 (1982)). “It is a time of immaturity, irresponsibility, ‘impetuousness[,] and
18   recklessness.’” Id. (citing Johnson v. Texas, 509 U.S. 350, 368 1993). “It is a moment and
19   ‘condition of life when a person may be most susceptible to influence and psychological
20   damage.’” Id. (citing Eddings, 455 U.S. at 115). And its “signature qualities” are all
21   “transient.” Id. (citing Johnson, 509 U.S. at 368).
22         While there is no Supreme Court precedent that examines emerging adults (age 18 to
23   early 20s) specifically, there is case law surrounding sentencing emerging adults. The
24   Supreme Court has reminded us that “[t]he qualities that distinguish juveniles from adults
25   do not disappear when an individual turns 18.” United States v. Lara, 658 F.Supp.3d 22,
26   30-31 (Dist. C. Rhode Island) (citing Roper, 543 U.S. at 574). Over the last two decades,
27   scientists, society, and the courts have all recognized that youthful offenders have a different
28

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     level of culpability than do adult offenders. “Youth matters in sentencing.” (citing
 1
     Tennessee v. Booker, 656 S.W.3d 49, 60, 63 (Tenn. 2022) (internal quotation marks omitted)
 2
     (citation omitted)). This is reflected in U.S.S.G. § 5H1.1 Age (Policy Statement) as cited
 3
     above.
 4
           United States v. Felton, 587 F.Supp.3d 366 (W.D. Virginia 2022), is analogous to this
 5
     case, is an example of application of the above at sentencing, and should be considered by
 6
     the Court. Gregory Felton was a member of a large scale drug conspiracy in Charlottesville,
 7
     Virginia. See id. at 368. He was an “enforcer” who during the course of the conspiracy shot
 8
     and killed a drug user they believe has stolen from members of the conspiracy. See id. The
 9
     District Court in Felton reasoned that a “defendant’s youth at the time of the offense is []
10
     of special importance to the Court’s determination.” Id. at 374. The defendant was “20
11
     years old at the time of the underlying conduct.” Id. Following Supreme Court precedent,
12
     the District Court in Felton determined, “[t]he Supreme Court has recognized, in the
13
     sentencing context, the diminished culpability of juvenile offenders given their lack of
14
     maturity, vulnerability to social pressures, and malleable identities.” Felton, 587 F.Supp.3d
15
     at 374 (citing United States v. Howard, 773 F.3d 519, 533 (4th Cir. 2014) (citation omitted)).
16
     The District Court noted, “in Felton’s case[], [w]hile certainly not a minor, [he] was
17
     surrounded by co-conspirators much older than he[, and there was a] negative influence []
18
     played out in Felton’s relationship with Alonzo Trice, the apparent leader of the conspiracy
19
     who treated Felton as an adopted son.” Id. at 374. Felton referred to Trice as “Dad.” See
20
     id. Felton was ultimately sentenced to 360 months custody.
21
           Here, there are parallels to Felton. Beginning at the age of 14, or possibly younger,
22
     Mr. Oseguera was immersed into the cartel culture. Here, Mr. Oseguera was clearly
23
     recruited into the criminal conspiracy by both is father and uncles. He was recruited at a
24
     time when he was a minor. This was of course at “a moment and ‘condition of life when a
25
     person [is] most susceptible to influence and psychological damage.’” Miller v. Alabama,
26
     567 U.S. at 476 (citing Eddings, 455 U.S. at 115). As in Felton, Mr. Oseguera was
27
     surrounded by co-conspirators much older than he, and in more aggravation than Felton, it
28

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     was Mr. Oseguera’s father that apparently recruited Mr. Oseguera into the criminal
 1
     conspiracy, and not just a “father-figure” as in Felton. Mr. Oseguera, unlike Felton, and in
 2
     aggravation, did not have control over his environment and lacked the ability to extricate
 3
     himself because of the familial relationship involved in the conspiracy. Unlike in Felton
 4
     where the defendant had the ability to turn to others outside of the conspiracy for help or
 5
     guidance, Mr. Oseguera could not, as his father, uncles, and step-brother were all apparently
 6
     older members of the conspiracy.
 7
           The decisions cited above “rest[] not only on common sense – on what ‘any parent
 8
     knows’ – but on science and social science as well.” Miller v. Alabama, 567 U.S. at 471
 9
     (citing Roper, 543 U.S. at 569). In Roper, the Supreme Court cited studies showing that
10
     “‘[o]nly a relatively small portion of adolescents’ who engage in illegal activity ‘develop
11
     entrenched patterns of problem behavior.’” Id. at 471 (citing Roper, 543 U.S. at 570). “And
12
     in Graham, the Supreme Court noted that ‘developments in psychology and brain science
13
     continue to show fundamental differences between juvenile and adult minds [in] parts of the
14
     brain involved in behavior control.’” Id. at 471-72 (citing Graham, 560 U.S. at 68). The
15
     Supreme Court reasoned that those findings of transient rashness, proclivity for risk, and
16
     inability to assess consequences both lessened a child’s moral culpability and enhanced the
17
     prospect that, as years go by and neurological development occurs, his “‘deficiencies will
18
     be reformed.’” Id. at 472 (citing Graham, 560 U.S. at 68, and Roper, 543 U.S. at 570).
19
           “Roper and Graham emphasized that the distinctive attributes of youth diminish the
20
     penological justifications for imposing the harshest sentences on juvenile offenders, even
21
     when they commit terrible crimes. Because “‘[t]he heart of the retribution rationale’” relates
22
     to an offender’s blameworthiness, “‘the case for retribution is not as strong with a minor as
23
     with an adult.’” Miller v. Alabama, 567 U.S. at 472 (citing Graham, 560 U.S. at 71 (quoting
24
     Tison v. Arizona, 481 U.S. 137, 149 (1987); Roper, 543 U.S. at 571). “Nor can deterrence
25
     do the work in this context, because “‘the same characteristics that render juveniles less
26
     culpable than adults’ – their immaturity, recklessness, and impetuosity – make them less
27
     likely to consider potential punishment [at the time of the offense].” Id. at 472 (citing
28

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     Graham, 560 U.S. at 72 (quoting Roper, 543 U.S. at 571)). “Deciding that a ‘juvenile
 1
     offender forever will be a danger to society’ would require ‘[m]aking a judgment that [he]
 2
     is incorrigible’ – but ‘incorrigibility is inconsistent with youth.’” Id. at 472-73 (citing
 3
     Graham, 560 U.S. at 72-73 (citation omitted)). “[F]or the same reason, rehabilitation could
 4
     not justify that sentence, [as] [l]ife without parole ‘foreswears altogether the rehabilitative
 5
     ideal.’” Id. at 473 (citing Graham, 560 U.S. at 74).
 6
           “Imprisoning an offender until he dies alters the remainder of his life ‘by a forfeiture
 7
     that is irrevocable.’” Miller v. Alabama, 567 U.S. at 474-75 (citing Graham, 560 U.S. at 69).
 8
     This lengthiest possible incarceration is an “‘especially harsh punishment [],’ because he
 9
     will almost inevitably serve ‘more years and a greater percentage of his life than an adult
10
     offender.’” Id. (citing Graham, 560 U.S. at 70). As an illustrative example of the above,
11
     the Government argues that a life sentence is warranted in Mr. Oseguera’s case in order to
12
     avoid unwarranted sentencing disparities. See ECF 225 at 32-36. The Government cites
13
     three cases wherein the defendants received life sentences - United States v. Alfredo
14
     Beltran-Leyva, United States v. Eliu and Waldemar Lorenzana-Cordon, and Gerardo
15
     Gonzalez-Valencia. See id. Each of the defendants in these cases were adults at the time
16
     of their respective offenses, and the defendants in these cases are between 15 years and 25
17
     years older than Mr. Oseguera (Beltran-Leyva Year of Birth (“YOB”) - 1971; Eliu and
18
     Waldemar Lorenzana-Cordon YOB - 1972 and 1965 respectively; Gonzalez-Valencia YOB
19
     - 1976). Not only is age at the time of the offense a distinguishing factor demonstrating Mr.
20
     Oseguera is not similarly situated as each case cited by the Government, but these case cited
21
     by the Government also serve to illustrate the disparity of imposing a life sentence on a
22
     youthful offender as opposed to an adult. If the Court imposes a life sentence, Mr. Oseguera
23
     “will almost inevitably serve ‘more years and a greater percentage of his life than adult
24
     offender[s]’” such as Beltran-Leyva, the Lorenzana brothers, and his uncle, Gonzalez-
25
     Valencia. See Miller v. Alabama, 567 U.S. at 474-75 (citing Graham, 560 U.S. at 70). This
26
     is an “especially harsh punishment.” See id. A punishment that is “rare” and imposed on
27
     less than 1% of cases in federal court. See Life Sentences in the Federal System, United
28

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     States Sentencing Commission (July 2022) (www.ussc.gov/sites/default/files/pdf/research-
 1
     and-publications/research-publications/2022/20220726_Life.pdf) (There are numerous
 2
     federal criminal statutes authorizing a sentence of life. While convictions under these
 3
     statutes are common, sentences of life imprisonment are rare (less than 1% of the federal
 4
     sentencing caseload).
 5
                  3.    Need to Provide Just Punishment and Respect for the Law
 6
                        a. Incarceration has a Greater Significance for First-time
 7                         Offenders
 8         Prior to his incarceration associated with the instant case, Mr. Oseguera had never
 9   been incarcerated. Given Mr. Oseguera’s prior inexperience with the criminal justice
10   system, a lesser period of imprisonment is required to deter him from future criminality.
11   See United States v. Qualls, 373 F. Supp. 2d 873, 877 (E.D. Wis. 2005) (generally a lesser
12   period of imprisonment is required to deter a defendant not previously subject to lengthy
13   incarceration than is necessary to deter a defendant who has already served serious time yet
14   continues to reoffend); see also United States v. Baker, 445 F.3d 987, 990 (7th Cir. 2006)
15   (first experience with prison would mean more to defendant and have greater impact than
16   to a defendant who had prior convictions).
17         Compounding the effects of incarceration have been the conditions of confinement
18   Mr. Oseguera has been subjected to during his period of pretrial confinement. While in
19   custody in Mexico, Mr. Oseguera was subject to physical torture. See PSR at 20. Upon
20   being extradited to the United States14 Mr. Oseguera was placed into administrative
21   segregation for his own safety and totally isolated from everyone. He remained in isolation
22   for over three years. While in isolation Mr. Oseguera was subject to a 23 hour lock-down
23   in his cell, denied outdoor exercise, denied regular showers, and regular access to
24   commissary. He did not have access to any programing. This “psychological torture []
25   negatively impacted his mental health[,]” and “he [] developed migraines and vertigo from
26
          14
27
        Mr. Oseguera-Gonzalez was brought from Sonora, Mexico, to a local jail in
28 Alexandria, Virginia.
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     being in [administrative] isolation.” Id. at 21.
 1
           “More than a century ago, the Supreme Court recognized the adverse consequences
 2
     to inmates’ mental health posed by the prolonged detention in conditions akin to solitary
 3
     confinement.” Porter v. Clarke, 923 F.3d 348, 355 (4th Cir. 2019) (citing In re Medley, 134
 4
     U.S. 160, 168 (1890)). “In recent years, advances in understanding of psychology and new
 5
     empirical methods have allowed researchers to characterize and quantify the nature and
 6
     severity of the adverse psychological effects attributable to prolonged placement of inmates
 7
     in isolated conditions.” Id. Justice Kennedy and Justice Breyer authored separate opinions
 8
     highlighting the serious psychological and emotional harm caused by solitary confinement.
 9
     See Ruiz v. Texas, 580 U.S. 1191, 1246-47 (2017) (Breyer, J., dissenting) (stating there are
10
     “symptoms long associated with solitary confinement, namely severe anxiety and
11
     depression, suicidal thoughts, hallucinations, disorientation, memory loss, and sleep
12
     difficulty”); Glossip v. Gross, 576 U.S. 863, 926-27 (2015) (Breyer, J., dissenting) (“it is
13
     well documented that . . . prolonged solitary confinement produces numerous deleterious
14
     harms”); Davis v. Ayala, 576 U.S. 257, 289-90 (2015) (Kennedy, J., concurring)
15
     (“[R]esearch still confirms what this Court suggested over a century ago [that] isolation
16
     exact[s] a terrible price”).
17
           It is clear and undeniable, “Prolonged solitary confinement exacts a heavy
18
     psychological toll [on] [] an inmate’s mind.” Porter v. Clarke, 923 F.3d at 357 (citing
19
     Incumaa v. Stirling, 791 F.3d 517, 534 (4th Cir. 2015)). The “robust body of scientific
20
     research on the effects of solitary confinement [has found] such confinement is
21
     psychologically painful, can be traumatic and harmful, and puts many of those who have
22
     been subjected to it at risk of long-term ... damage.” Id. (citing Williams v. Sec’y Penn.
23
     Dep’t of Corr., 848 F.3d 549, 566-67 (3d. Cir. 2017)). “[S]olitary confinement, even over
24
     relatively short periods, renders prisoners physically sick and mentally ill. . . . These harms,
25
     which are persistent and may become permanent, become more severe the longer a person
26
     is exposed to solitary confinement.” Id. (citing Grissom v. Roberts, 902 F.3d 1162, 1176-77
27
     (10th Cir. 2018)).
28

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           Of particular relevance to the Court’s analysis here, “several courts have found– based
 1
     on the empirical evidence set forth– that solitary confinement poses an objective risk of
 2
     serious psychological and emotional harm to inmates, and therefore can violate the Eighth
 3
     Amendment.” Porter v. Clarke, 923 F.3d at 357 (citing see e.g., Palakovic v. Wetzel, 854
 4
     F.3d 209, 225-26 (3d Cir. 2017) (“acknowledg[ing] the robust body of legal and scientific
 5
     authority recognizing the devastating mental health consequences caused by long-term
 6
     isolation in solitary confinement”); Ashker v. Brown, No. C09-5796, 2013 WL 1435148, at
 7
     *4-5 (N.D. Cal. Apr. 9, 2013); Wilkerson v. Stadler, 639 F.Supp.2d 654, 678-79 (M.D. La.
 8
     2007) (“It is obvious that being housed in isolation in a tiny cell for 23 hours a day [] results
 9
     in serious deprivations of basic human needs”); McClary v. Kelly, 4 F.Supp.2d 195, 208
10
     (W.D.N.Y. 1998) (“[T]hat prolonged isolation from social and environmental stimulation
11
     increases the risk of developing mental illness does not strike this Court as rocket science”).
12
     Still other courts have found that leniency may be warranted "to acknowledge the
13
     qualitatively different conditions to which [a] defendant was subjected for an extended
14
     period of time." United States v. Francis, 129 F. Supp.2d 612, 619 (S.D.N.Y. 2001)
15
     (granting a downward departure based on pre-trial conditions of confinement); United States
16
     v. Carty, 264 F.3d 191, 196 (2d Cir. 2001) (pre-trial conditions of confinement constitute
17
     an appropriate sentencing factor); United States v. Hernandez-Santiago, 92 F.3d 97, 101 n.2
18
     (2d Cir. 1996) (same); Clark v. Floyd, 80 F.3d 371, 374 (9th Cir. 1996) (same). The United
19
     States Supreme Court has also agreed. In Reno v. Koray, 515 U.S. 50, 56-58 (1995), the
20
     Supreme Court awarded additional credits to Federal prisoners who were being held in non-
21
     Federal or contract detention facilities.
22
           Accordingly, based upon the pretrial conditions of confinement experienced by Mr.
23
     Oseguera for an extended period of time, the Court should take into account the conditions
24
     of pretrial confinement when determining the appropriateness of a 40 year sentence.
25

26

27

28

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                        b. The Requested Sentence is Appropriate to Avoid an
 1                         Unwarranted Sentencing Disparity
 2         When considering Mr. Oseguera’s request for the minimum mandatory sentence of
 3   40 years, this Court should consider a district court’s sentence must be determined in light
 4   of the factors set forth in 18 U.S.C. § 3553(a) which specifically include the “need to avoid
 5   unwarranted sentencing disparities.” See 18 U.S.C. 3553(a)(6) (2024); see also 28 U.S.C.
 6   Section 991(b)(1)(B); U.S.S.G. Ch.1, Pt.A, (“Congress sought reasonable uniformity in
 7   sentencing by narrowing the wide disparity in sentences imposed for similar criminal
 8   offenses committed by similar offenders.”).        In the D.C. Circuit, when assessing
 9   unwarranted sentencing disparities, courts frequently look to the sentences of co-defendants,
10   rather than draw comparisons with defendants in unrelated cases. See, e.g., United States
11   v. Joseph, 399 F.App’x 599, 600-01 (D.C. Cir. 2010). Here, Mr. Oseguera is not charged
12   with any co-defendants. As a result, Mr. Oseguera suggests in analyzing whether a disparity
13   would exist if the Court were to impose a life sentence, the Court should examine the
14   sentences imposed on the Government’s cooperating witnesses15, all of whom can be
15   considered co-conspirators, and in addition examine the sentences of other similarly situated
16   defendants for an appropriate benchmark of sentences imposed in similar cases.
17         The following are similar cases the Court may consider to avoid an unwarranted
18   disparity in sentence:
19                1. United States v. Lopez-Falcon, 8-CR-57 (D.D.C. 2008) - (216 months
20                   custody - conspiracy to manufacture and distribute minimum mandatory
21                   amounts of cocaine and marijuana);
22                2. United States v. Fernando-Borda, 7-CR-65 (D.D.C. 2007) - (300 months
23                   custody, Criminal History Category III - conspiracy to distribute minimum
24                   mandatory amounts of cocaine);
25

26
          15

27        Those sentences are analyzed in part C. 5. of this memorandum. To summarize, none
   of the cooperating witnesses were sentenced to life despite the admission of engaging in
28 very violent conduct.

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            3. United States v. Lerna-Plata, 11-CR-238 (D.D.C. 2011) - (151 months
 1
               custody, Corrupt high-ranking Mexican police commander - conspiracy to
 2
               distribute ton quantities of cocaine and marijuana);
 3
            4. United States v. Uribe-Jimenez, 12-CR-603 (E.D.N.Y. 2012) - (240 months
 4
               custody, Criminal History Category IV - conspiracy to distribute minimum
 5
               mandatory amounts a multiple controlled substances);
 6
            5. United States v. Enrique Palomera, 14-CR-5394 (W.D. Wash. 2014) - (240
 7
               months custody - conspiracy to distribute minimum mandatory amounts of
 8
               methamphetamine and possession of a firearm - high-level cartel member
 9
               also accused of murdering a co-conspirator);
10
            6. United States v. Celaya-Valencia, 11-CR-84 (D.N.H. 2011) - (210 months
11
               custody - conspiracy to distribute minimum mandatory amounts of
12
               controlled substances after trial - senior member of the Sinaloa Cartel);
13
            7. United States v. Jose Maria Corredor-Ibague, 09-CR-00156 (D.D.C. 2009)
14
               - (194 months custody - conspiracy to distribute minimum mandatory
15
               amounts of cocaine, also accused of providing material support to a terrorist
16
               organization);
17
            8. United States v. Ediel Lopez-Falcon, 08-CR-00057 (D.D.C. 2008) - (216
18
               months custody - conspiracy to distribute minimum mandatory amounts of
19
               cocaine and marijuana);
20
            9. United States v. Luis Hernando Gomez-Bustamonte, 02-CR-01188
21
               (E.D.N.Y. 2002) - (360 months custody - conspiracy to distribute 500,000
22
               kilograms of cocaine - leader of North Valle Cartel);
23
            10. United States v. Reymundo Villareal-Arelis, 16-CR-254 (W.D. Tex. 2016) -
24
               (240 months custody - conspiracy to distribute minimum mandatory
25
               amounts of cocaine and money laundering - Los Piojos Cartel member -
26
               jury trial);
27

28

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                  11. United States v. Jesus Raul Beltran-Leon, 09-CR-383 (N.D.Ill. 2009) -
 1
                      (336 months custody - conspiracy to distribute minimum mandatory
 2
                      amounts of controlled substances - attempted to arrange for the killing of
 3
                      a government witness while in custody);
 4
                  12. United States v. Victor Emilio Cazares-Gastellum, 07-CR-00449 (S.D.C.A.
 5
                      2007) - (180 months custody - conspiracy to distribute minimum
 6
                      mandatory amounts of controlled substances - labeled by the Government
 7
                      as a “drug kingpin” and one of the most notorious and violent drug
 8
                      traffickers in the Sinaloa Cartel);
 9
                  13. United States v. Raul Flores-Hernandez, 17-CR-00051 (D.D.C. 2017) -
10
                      (262 months - conspiracy to distribute minimum mandatory amounts of
11
                      controlled substances - 30 year trafficking history and powerful enough to
12
                      operate independently of the controlling cartels in Mexico);
13
                  14. United States v. Benjamin Arellano-Felix, 97-CR-2520 (S.D.C.A. 2011) -
14
                      (300 month sentence. Notorious leader of the Arellano-Felix Organization
15
                      - charged with 25 separate murders - conspiracy to distribute minimum
16
                      mandatory amounts of controlled substances);
17
                  15. United States v. Jaime Antonio Mandujano-Eudave, 12-CR-00237
18
                      (D.D.C.) - (156 months custody - conspiracy to distribute minimum
19
                      mandatory amounts of controlled substances - major coordinator of boat
20
                      shipments for the Sinaloa Cartel for two decades - millions of kilograms
21
                      trafficked).
22
           The above are only a few examples of similar cases, but many more could be cited as
23
     the imposition of a life sentence is rare. In fact, as noted by the United States Probation
24
     Department in the Presentence Investigation Report, according to the available Judiciary
25
     Sentencing Information (JSIN), the average sentence imposed for someone convicted of
26
     trafficking in methamphetamine with a final offense level of 43 and a Criminal History
27
     Category of I, was 324 months custody. See ECF 210 at 28. Importantly, unlike the above
28

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     cases, and a factor that is not reflected in JSIN, are the mitigating circumstance that exist
 1
     here. Mr. Oseguera was recruited into the criminal conspiracy at the time he was a minor
 2
     and he was a youthful offender throughout the course of the conspiracy, unlike all of the
 3
     above cases. Here, the Court must impose a fair and just sentence. To avoid an unwarranted
 4
     sentencing disparity for all the reasons cited in this memorandum the Court should impose
 5
     the minimum mandatory sentence of 40 years custody.
 6
                        c. Mr. Oseguera Cannot be Punished for Exercising his Right to
 7                         Trial
 8         While Mr. Oseguera chose to exercise his constitutional right to trial he cannot be
 9   punished more severely for doing so, and the Government’s life recommendation reflects
10   exactly that, i.e., a more sever punishment for having exercised his constitutional right to
11   trial. As the Court is aware, on May 6, 2024, prior to trial, the Government proposed a
12   resolution to the case that stated in exchange for a guilty plea to Counts One and Two of the
13   superseding indictment, “The Government would in turn: Agree to recommend a sentence
14   of forty years’ imprisonment, the mandatory minimum sentence for a conviction on Counts
15   One and Two of the [Superseding] Indictment.” See ECF 122 at 2. The testimony at trial
16   resulted in no great reveal of aggravating conduct the Government was unaware of in May
17   of 2024 at the time it agreed to recommend a sentence of 40 years, not life, was an
18   appropriate punishment for the crimes in the indictment. Quite to the contrary of revealing
19   aggravating conduct the government was previously unaware of, the trial testimony did not
20   support a number of the allegations asserted pretrial by the Government, but also
21   highlighted the unreliability of the cooperating witness testimony offered by the
22   Government.
23         For example, in contradiction to the Government’s 404(b) notice, the Court did not
24   hear evidence Mr. Oseguera “frequently bragged about killing people and showed other
25   CJNG members photographs of dead people whom the defendant had ordered kidnaped and
26   murdered.” See ECF 132 at 3. In contradiction to the Government’s 404(b) notice, the
27   Court did not hear evidence “after Mexican law enforcement seized a shipment of chemicals
28

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     that the CJNG had intended to use to manufacture methamphetamine, the Defendant ordered
 1
     those responsible for transporting the chemicals to be tied up and drowned in a swimming
 2
     pool.” See id. In contradiction to the Government’s 404(b) notice, the Court did not hear
 3
     evidence “[t]he Defendant participated in the torture of two men suspected of providing
 4
     information about the CJNG to Mexican law enforcement and later displayed photos of the
 5
     men’s dead bodies.” See id. In contradiction to the Government’s 404(b) notice, the Court
 6
     did not hear evidence presented by the Government related to Mr. Oseguera’s involvement
 7
     with bribery. See id. at 4. The Court must question why although proffered by the
 8
     Government, the Court did not hear such evidence. The answer is quite simple, the
 9
     information proffered to the Court by the Government was not reliable.
10
           As addressed above, the trial highlighted the unreliability of the Government’s
11
     cooperating witnesses. For example, much of the Government’s case relied upon the
12
     testimony of Hermino Gomez Ancira, a convicted felon and paid Government witness. He
13
     is totally unworthy of belief, and his testimony was uncorroborated and unreliable. Surely
14
     the Court after having heard Gomez Ancira’s testimony and having observed his demeanor
15
     on the witness stand should have concerns about the reliability of his testimony. Certainly,
16
     absent any corroborative testimony or evidence, the Court should have concerns about the
17
     reliability of his testimony. The Court has an obligation to separate fact from fiction, and
18
     Gomez Ancira’s testimony was more fiction than fact.
19
           “Representative government and trial by jury are the heart and lungs of liberty.
20
     Without them we have no other fortification against being ridden like horses, fleeced like
21
     sheep, worked like cattle and fed and clothed like swine and hounds.” John Adams, 1774.
22
     Punishing Mr. Oseguera for having exercised his constitutional right to trial as the
23
     Government wishes to do is unfair and unjust, and is nothing other than a cancer infecting
24
     the lungs of liberty. The Supreme Court has repeatedly emphasized that “to punish a person
25
     because he has done what the law plainly allows him to do is a due process violation ‘of the
26
     most basic sort.’” United States v. Goodwin,457 U.S. 368, 372 (1982) (quoting Hayes, 434
27
     U.S. 357, 363 (1978)). A “defendant’s right to contest guilt before a jury is protected by the
28

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     Constitution, and his decision to do so cannot be held against him.” United States v. Ramos-
 1
     Medina, 706 F.3d 932, 940 (9th Cir. 2013) (internal quotation marks and citation omitted).
 2
     It is “well established under the so-called unconstitutional conditions doctrine that a
 3
     defendant may not be subjected to more severe punishment for exercising his or her
 4
     constitutional right to stand trial.” United States v. Hernandez, 894 F.3d 1104, 1110 (9th Cir.
 5
     2018) (citations omitted).
 6
           Here, the 40 year minimum mandatory is punishment enough. It was a sufficient but
 7
     not greater than necessary punishment for the Government prior to trial, and should be
 8
     viewed by the Court as a sufficient but not greater than necessary sentence now.
 9
                  4.     The Proposed Sentence will Promote Deterrence
10
                         a. Specific Deterrence is Achieved with a 40 Year Sentence
11
           Here, there can be no question the minimum mandatory sentence of 40 years is
12
     sufficient to specifically deter Mr. Oseguera from engaging in any future criminal conduct.
13
     The time already incarcerated, almost 10 years, the additional incarceration to be served,
14
     approximately another 30 years, and the threat of further incarceration if Mr. Oseguera does
15
     not comply with his conditions of supervised release are all deterrence enough. Mr.
16
     Oseguera will be 35 years old at the time of sentencing, and thus, if the Court were to
17
     impose the minimum mandatory sentence of 40 years, Mr. Oseguera will be approximately
18
     65 years old at the time of his release from custody. Defendants “over the age of forty ...
19
     exhibit markedly lower rates of recidivism in comparison to younger defendants.” See
20
     Measuring Recidivism: The Criminal History Computation of the Federal Sentencing
21
     Guidelines, at 12, 28 (2004). Post-Booker courts have noted that recidivism is markedly
22
     lower for older defendants. See e.g., United States v. Eberhard, 2005 WL 1384038
23
     (S.D.N.Y. June 5, 2005); United States v. Coleman, 370 F.Supp.2d 661, 681 (S.D. Ohio
24
     2005); Simon v. United States, 361 F.Supp.2d 35, 48 (E.D.N.Y. 2005); United States v.
25
     Hernandez, 2005 WL 1242344 (S.D.N.Y. May 24, 2005); United States v. Carmona-
26
     Rodriguez, 2005 WL 840464 (S.D.N.Y. Apr. 11, 2005); United States v. Nellum, 2005 WL
27
     300073 (N.D. Ind. Feb. 3, 2005).
28

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           Further incarceration beyond the mandatory minimum of 40 years is not necessary to
 1
     promote specific deterrence, or general deterrence.
 2
                         b. A Sentence to Promote General Deterrence Must be
 3                          Weighed Against Individualizing the Sentence
 4         Few legal principles are either as ancient or deeply etched in the public mind as the
 5   notion that punishment should fit the crime. See United States v. Barker, 771 F.2d 1362,
 6   1365 (9th Cir. 1985). The familiar maxim, however, is only half-true. “[I]n the present
 7   century the pendulum has been swinging away from ... the philosophy that the punishment
 8   should fit the crime and toward on that the punishment should [also] fit the criminal.” W.
 9   LaFave & A. Scott, Handbook on Criminal Law § 5 at 25 (1972). The concept of the notion
10   of individualized sentencing is firmly entrenched in our present jurisprudence. As the
11   Supreme Court observed, “[p]unishment should fit the offender and not merely the crime.”
12   Williams v. New York, 337 U.S. 241, 247 (1949). While general deterrence is a legitimate
13   consideration in passing sentence and must be considered by the Court under 3553(a), it is
14   subject to limitation. “Tailoring punishment to the individual criminal may reduce the
15   efficacy of [general] deterrence, but that reduction is an inevitable cost of a system that
16   eschews mechanistic punishment.” Barker, 771 F.2d at 1368. As the Supreme Court
17   explained in Pepper, “the punishment should fit the offender and not merely the crime
18   including taking into account a person’s life [,] characteristics and rehabilitation.” See
19   Pepper v. United States, 562 U.S. 476, 487-88 (2011). “[G]eneral deterrence for the benefit
20   of society is served when a person is convicted of a serious crime, thus deterring others from
21   making the same mistake.” United States v. Onuoha, 820 F.3d 1049, 1057 (9th Cir. 2016).
22         “[T]here is little doubt about the direction of society’s evolution: For most of the 20th
23   Century, American sentencing practices emphasized rehabilitation of the offender and the
24   availability of parole. But by the 1980s, outcry against repeat offenders, broad disaffection
25   with the rehabilitative model, and other factors led many legislatures to reduce or eliminate
26   the possibility of parole, imposing longer sentences in order to punish criminals and prevent
27   them from committing more crimes.” Miller v. Alabama, 567 U.S. 460, 497 (2012)
28

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     (Roberts, Chief, J., dissenting). Here, the 40 year minimum mandatory penalty is reflective
 1
     of society’s shift towards punishment, and is so significant of a penalty that it inherently
 2
     promotes general deterrence. The Court, however, must consider individualizing the
 3
     sentence to Mr. Oseguera and in doing so must consider that he was either a juvenile or an
 4
     emerging adult16 at the time of his involvement in the conspiracy, was surrounded by
 5
     negative influences of older family members, and that “emerging adults who have
 6
     committed crimes tend to cease that behavior as they age.” United States v. Lara, 658
 7
     F.Supp.3d 22, 34 (2023) (citation omitted).
 8
            In the instant case when weighing the need to impose a just sentence to promote
 9
     general deterrence against the need to individualize the sentence, Mr. Oseguera maintains
10
     general deterrence is satisfied with the 40 year minimum mandatory sentence. The
11
     recommended sentence is the appropriate individualized sentence. A judge should hesitate
12
     to impose a sentence so severe that he “destroys all hope and takes away the possibility of
13
     useful life.” United States v. Carvajal, 2005 WL 476125 at *6, 2005 (S.D. N.Y. 2005)). The
14
     40 year minimum mandatory, although very severe, does not take away all possibility of a
15
     useful life.
16
                    5. The Proposed Sentence is Sufficient to Protect the Public
17
            Relevant to the sentence, the Court is required to impose a sentence that best protects
18
     the public. Mr. Oseguera is a first-time felony offender. As a first-time felony offender, Mr.
19
     Oseguera. presents a low risk of recidivism. See United States v. Duane, 533 F.3d 441, 453
20
     (6th Cir. 2008). Recidivism rates of first-offenders are significantly lower than those for
21
     other defendants in higher criminal history categories. See Michael Edmund O’Neill,
22
     Abraham’s Legacy: An Empirical Assessment of (Nearly) First-Time Offenders in the
23
     Federal System, 42 B.C.L. Rev. 291 (2001) (suggesting a different Criminal History
24
     Category be created for “true first-time offenders”).
25

26
          16

27       Depending upon which cooperating witness testimony the Court credits, as the
   accounts conflict, at the earliest, Mr. Oseguera was recruited into criminal activity as early
28 as 14 years old.

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           Importantly, when considering the need to protect the public, the Court should
 1
     consider Mr. Oseguera’s conduct while in pretrial confinement. As noted above, Mr.
 2
     Oseguera has been in pretrial confinement in the United States for a little over 5 years.
 3
     While in pretrial confinement he has been a model detainee. He has not engaged in
 4
     additional criminal conduct. It is telling that for years the Government has monitored Mr.
 5
     Oseguera’s phone calls while in pretrial confinement and not one call supports any
 6
     continued involvement in criminal conduct. To the extent he’s been able, as there are
 7
     limited resources in the pretrial facilities, he’s been focused on rehabilitating himself. For
 8
     example, Jose Dolores Aguayo Gonzalez, a member of the Parish of Saint John Crisostomo,
 9
     in Guadalajara, Mexico, who has served as Mr. Oseguera’s spiritual coach for the last two
10
     years through letters and phone calls has advised the Court that Mr. Oseguera “has reflected
11
     on his future a great deal[,] [d]espite the mistakes he may have committed [he is] radically
12
     changed.” See Exhibit A - Sentencing Support Letters.
13
           This is obviously a stark contrast from the testimony of the Government’s cooperating
14
     witnesses. Two cooperating Government witnesses claimed to have been incarcerated in
15
     Mexico with Mr. Oseguera. They claimed while Mr. Oseguera was in custody in Mexico
16
     he engaged in drugs and weapons trafficking, and otherwise terrorized everyone in the
17
     Mexican jails where he was confined. Although the Court should consider that Mr.
18
     Oseguera’s conduct while in custody in the United States undermines the Government
19
     witnesses’ claims, even if their claims were true, for over a period of 5 years Mr. Oseguera
20
     has distanced himself from his past and has focused on rehabilitation.
21
           The Government argues in it’s sentencing memorandum that a life sentence is
22
     required to protect the public as Mr. Oseguera “was able to lead the CJNG because of his
23
     family, relationships, knowledge, and brutality[,] resources [] [he] will be able to maintain
24
     and cultivate despite incarceration. [] The Defendant’s actions demonstrate that if he is ever
25
     released and returns to Mexico, he will return to his criminal empire.” See ECF 225 at 32.
26
     First, as addressed above, over the course of the last 5 years while in pretrial confinement
27
     Mr. Oseguera has not shown any inclination to “maintain and cultivate despite [his]
28

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     incarceration” involvement in, or control of, the CJNG. The evidence is simply not there
 1
     and does support the Government’s claim. Second, as noted by the Government in its
 2
     sentencing memorandum, Mr. Oseguera is a United States citizen and if the Court were to
 3
     impose a term of years in custody rather than life, to protect the public the Court can order
 4
     a life term of supervised release requiring that Mr. Oseguera reside in the United States
 5
     subject to the jurisdiction of the Court and the supervision of the United States Probation
 6
     Office. See ECF 225 at 32, n.14. Mr. Oseguera need not go back to Mexico and the Court
 7
     can specifically order him not do so as a condition of supervised release. Again, nothing
 8
     in Mr. Oseguera’s conduct over the course of the last 5 years in pretrial confinement
 9
     supports that upon release from custody after having served a 40 year custodial term that “he
10
     [would] return to his criminal empire.” See id. at 32. A 40 year custodial term followed by
11
     a life term of supervised release is a sufficient, but not greater than necessary sentence to
12
     protect the public.
13
           The Government has labeled Mr. Oseguera “a mass murderer [] [who] engaged in
14
     unconscionable violence[,]” and has argued a life sentence is “the only sentence that is
15
     sufficient, but not greater than necessary, to hold Defendant accountable for his crimes, to
16
     promote respect for the law, to deter the Defendant and others from committing serious
17
     crimes, and to protect the public of the United States.” See ECF 225 at 29, 36. There is a
18
     certain hypocrisy in this argument as at least four of the Government’s cooperating
19
     witnesses by the Government’s definition are “mass murder[s] [] [who] engaged in
20
     unconscionable violence” but yet the Government did not request that any of them receive
21
     a life sentence nor have any of them received a life sentence.
22
           The Government’s first cooperating witness, Oscar Nava-Valencia, aka “El Lobo,”
23
     began his career in drug trafficking in 1988. See September 9, 2024 Transcript (Afternoon
24
     session) at 20. He worked with the Sinaloa Cartel leveraging the relationships he had with
25
     notorious cartel leaders such as Arturo Beltran-Leyva, Joaquin “El Chapo” Guzman, and
26
     Ismael “Mayo” Zambada. Id. at 20-21. In 2004, Nava-Valencia would take the helm of his
27
     own cartel, the Milenio Cartel. Id. at 21. He was the boss of the Milenio Cartel from 2004
28

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     to 2009, up until his arrest. Id. at 22, 46. During this five-year period of time Nava-
 1
     Valencia made over a billion dollars. Id. at 26. To maintain his cartel empire, Nava-
 2
     Valencia ordered the murders of at least “200" people. Id. at 74-75. Nava-Valencia denied
 3
     ever having killed anyone himself (very likely a lie), but he did admit he was present when
 4
     some of the individuals he ordered were killed. Id. at 78-79. In true sociopathic fashion,
 5
     during trial testimony Nava-Valencia laughed while being questioned about the hundreds
 6
     of murders he ordered. See id. at 79. Some of the murders were by decapitation, and some
 7
     after the victims were tortured. See September 10, 2024, Transcript (Morning session) at
 8
     5-6, 10-11. Nava-Valencia would “occasionally” participate in the torture of victims by
 9
     “kicking and punching” them when he was “angry.” See id. at 11-12. Sometimes the torture
10
     included physical beatings, disfigurement (e.g., cutting off limbs or ears), and electrocution.
11
     See id. at 13.
12
           Nava-Valencia was initially sentenced to 25 years custody. See id. at 18. He served
13
     only 14 of his 25 year sentence and he was released. Id. at 18. He was released despite
14
     having tortured and murdered hundreds of people, despite being, according to the
15
     Government, a mass murderer, someone indistinguishable from Mr. Oseguera. Somehow
16
     though, because Nava-Valencia agreed to cooperate he is now wrapped in a United States
17
     flag which magically erased his past. Is it only individuals who cooperate with the
18
     Government that are capable of rehabilitation and worthy of leniency (a 40 year sentence
19
     cannot be considered lenient)? Is it that anyone who has exercised his constitutional right
20
     to trial is then by default incapable of rehabilitation and is unworthy of leniency? This
21
     simple cannot be the case. The Court must see the hypocrisy in demanding two consecutive
22
     life sentences for Mr. Oseguera, but yet someone like Nava-Valencia is not only free to walk
23
     the streets of any city or town in the United States, but can do so while enjoying the billion
24
     dollars he earned from his cartel leadership. The reality is, contrary to the Government’s
25
     argument, Mr. Oseguera is capable of rehabilitation and having exercised his right to trial
26
     doesn’t change that in the least. When the Court considers the Government’s sentencing
27
     arguments as they relate to Mr. Oseguera the Court should consider that other defendants,
28

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     defendants related to this case, engaged in similar conduct but have not received a life
 1
     sentence.
 2
           Jose Antonio Torres-Marrufo, aka “Jaguar,” another Government cooperating witness
 3
     is a convicted narcotrafficker. See September 17, 2024 Transcript (Morning session) at 6.
 4
     He plead guilty to a conspiracy to commit murder. See id. He was sentenced to 480 months,
 5
     or 40 years custody. See id. at 7. He began trafficking drugs in the 1990s for the Sinaloa
 6
     Cartel. See id. at 7-8. He was a “sicario” or hitman for the Sinaloa Cartel. See id. at 10.
 7
     He lead seven to ten groups of other sicarios. See id. As a leader of multiple sicario groups,
 8
     the “Artistas Asesinos,” or “Murder Artists,” he would execute or kill as necessary. See id.
 9
     at 11, September 17, 2024 Transcript (Afternoon session) at 17. Torres-Marrufo’s primary
10
     responsibility in leading the “Murder Artists” was to kidnap, torture, and kill on command.
11
     See September 17, 2024 Transcript (Afternoon session) at 18, 56. The bodies of those
12
     murdered by Torres-Marrufo and his “Murder Artists” were often mutilated or dismembered
13
     and put on public display as a warning to others in the community that they might receive
14
     the same fate. See id. at 19. As a result of his enforcement actions innocent people died.
15
     See September 17, 2024 Transcript (Morning session) at 11.              In one particularly
16
     unconscionable event Torres-Marrufo ordered the kidnaping, torture, and murder of two
17
     brothers and their uncle, all United States citizens. See September 17, 2024 Transcript
18
     (Afternoon session) at 19-21. The two brothers and their uncle were picked up at a wedding
19
     in the United States, and during their abduction a fourth person who was in attendance at
20
     the wedding was murdered. See id. at 20-21. This was all over the loss of 670 lbs. of
21
     marijuana. See id. at 20. Of course there were others. See id. At 56-57 (for example,
22
     Torres-Marrufo lead his “Murder Artists” on a raid of a drug rehabilitation center in a swift
23
     action to kill suspected members of a rival cartel).
24
           Mario Ramirez-Trevino, AKA “Pelon,” is also a convicted narcotrafficker having
25
     plead guilty to conspiracy to distribute controlled substances. See February 21, 2024 Video
26
     Deposition Transcript at 8. He is the former boss of the Gulf Cartel. See id. at 10. His
27
     career in drug trafficking began in 2001 when he was a judicial police officer in Tamaulipas,
28

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     Mexico. See id. He began his work for the Gulf Cartel providing security for cartel
 1
     operations. See id. Over time his rank rose slowly until he became the Gulf Cartel’s boss
 2
     in 2012. See id. During this ten year period he engaged in violent acts such as killing other
 3
     cartel and rival cartel members. See id. at 11-12. Ramirez-Trevino personally killed so
 4
     many people that when asked he couldn’t recall exactly how many there were. See id. at 56.
 5
     During his tenure with the Gulf Cartel and as its leader, “kitchens” would be utilized by
 6
     “cooks” to dispose of the bodies of the victims murdered by members of the Gulf Cartel.
 7
     See id. at 57-60. The bodies “were placed in containers full of diesel” and cooked. See id.
 8
     at 59. There were apparently so many bodies of murdered victims that needed to be
 9
     “cooked” by Ramirez-Trevino and the Gulf Cartel that “[t]here were several locations [of
10
     the kitchens] in the different cities [in their territory].” See id. at 58. Ramirez-Trevino did
11
     not deny that he was present when the “cooks” cooked the bodies in the “kitchens,” he rather
12
     just said, “No, I am not denying it. I don’t remember very well.” See id. at 74. Ramirez-
13
     Trevino is facing a terminal illness and apparently has not been sentenced yet.
14
           Jesus Contreras-Arceo, aka “El Canasto” also testified on behalf of the Government
15
     as a cooperating witness. See September 18, 2024 Transcript (Morning session) at 39. He
16
     was evasive, derisive, and continually snickered and smirked at defense counsel during his
17
     testimony. See e.g., September 18, 2024 Transcript (Afternoon session) at 18-19.
18
     Contreras-Arceo was convicted of a conspiracy to manufacture methamphetamine for
19
     importation into the United States and money laundering. See id. at 39-40. At Contreras-
20
     Arceo’s direction “CJNG sicarios, or assassins, [] carried out numerous acts of violence,
21
     including murders, kidnaping, tortures, and the forceful collection of drug debts.” See id.
22
     at 87-90. Contreras-Arceo personally shot a wheel-chair bound man in the head for stealing
23
     several kilograms of “ice” and then disposed of his body in acid. See id. at 64-65, 93.
24
     Although the factual basis of Contreras-Arceo’s signed plea agreement which was reviewed
25
     with the District Court Judge assigned to his case stated, Mr. Contreras-Arceo “personally
26
     murdered at least one individual and arranged for the murder of other individuals[,]” he
27
     backtracked and denied arranging for the murder of other individuals. See id. at 92-98.
28

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     Contreras-Arceo claimed this latter portion of his plea agreement was not accurate. See id.17
 1
     The Government at Contreras-Arceo’s sentencing hearing advised the District Court, “The
 2
     defendant directed the countless - - murder of countless individuals over the course of his
 3
     involvement in the conspiracy.” See September 18, 2024 Transcript (Afternoon session) at
 4
     11 (citing Sentencing Transcript from United States v. Jesus Contreras-Arceo, 12-cr-398
 5
     (E.D. Virgina May 14, 2021) at 8). Contreras-Arceo’s own counsel described his case as
 6
     follows, “So, unlike an ordinary case, where there’s the ability of a defense counsel to at
 7
     least try to present a human face to conduct, that doesn’t exist in this case.” See id. at 12
 8
     (citing Sentencing Transcript from United States v. Jesus Contreras-Arceo, 12-cr-398 (E.D.
 9
     Virgina May 14, 2021) at 13-14). Yet, Contreras-Arceo did not receive a life sentence, he
10
     received a sentence of 420 months, or 35 years in custody. This was, of course, prior to any
11
     reduction for his cooperation.
12
           Given the sentences imposed in the cases of Nava-Valencia, Torres-Marrufo,
13
     Ramirez-Trevino, and Contreras-Arceo, the Government’s argument that requires a two
14
     consecutive life term for Mr. Oseguera rings hollow.
15
           Finally, a point worth making is that education and employment are both tools that
16
     can be utilized to protect the public. Education and employment are conditions that can be
17
     ordered during any period of supervised release. Education and employment, rather than
18
     a life term of incarceration, are more effective ways to protect the public and prevent
19
     recidivism when the Court weighs the need for punishment versus the need for
20

21
          17

22          It is important for the Court to be reminded of this as the Government wants to utilize
     the Joint Stipulation of Fact signed by Mr. Oseguera in determining Mr. Oseguera’s
23   sentence, but Mr. Oseguera maintains that not everything in that joint stipulation is accurate,
     and is therefore not reliable. Unlike Contreras-Arceo’s situation where the plea agreement
24   was reviewed with the District Court during a Rule 11 plea colloquy, that is not the case
     here. Importantly though if the Government takes the position that everything in a factual
25   basis in a plea agreement is accurate because a defendant has reviewed it and signed it, then
     the Government must admit their own cooperating witness lied during his trial testimony by
26   falsely denying facts laid out in a signed plea agreement. The Government’s knowing
     presentation of false testimony is a due process violation. See Napue v. Illinois, 360 U.S.
27   264 (1959). The Court should not apply a double standard as it appears the Government
     wishes to apply in this case.
28

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     rehabilitation. This is particularly true in Mr. Oseguera’s case as it appears his recruitment
 1
     into cartel activities was at the very young age of 14-15, and he was otherwise denied the
 2
     opportunity to explore educational and employment opportunities. Sure, the Court could
 3
     impose two consecutive life sentences as requested by the Government, but according to the
 4
     Government this sentence will do nothing to protect the public as Mr. Oseguera will
 5
     continue to cultivate his criminal empire “despite incarceration.” However, if the Court
 6
     does not impose a life sentence and rather imposes the minimum mandatory sentence which
 7
     gives Mr. Oseguera the hope of one day being released from custody, the latter sentence has
 8
     a mush greater deterrent for Mr. Oseguera from engaging in future criminal activity, and
 9
     thus, is a more appropriate sentence to protect the public. Therefore, Mr. Oseguera urges
10
     the Court, for good reason, to avoid imposition of a sentence beyond the statutory minimum
11
     mandatory of 40 years. It is simply not necessary to impose a more severe sentence to
12
     protect the public, and in many ways, is a more logical and sensible sentence to protect the
13
     public when considering the arguments advanced by the Government.
14
                                                  III.
15
     THE COURT SHOULD NOT ORDER A $12 BILLION DOLLAR FORFEITURE
16
           The Government seeks entry of a money judgment in the amount of $12,599,026.000.
17
     This $12 billion dollar request for forfeiture lacks evidentiary support and if imposed would
18
     be in violation of the Eighth Amendment’s excessive fines clause.
19
                                                  IV.
20
                             SENTENCING RECOMMENDATION
21
           Based on the foregoing facts and law, Mr. Oseguera respectfully requests this Court
22
     impose the minimum mandatory sentence of 40 years custody.
23

24
                                                           Respectfully Submitted,
25
                                                           /s/ Anthony E. Colombo, Jr.
26
     DATED: February 19, 2025                              ANTHONY E. COLOMBO, JR.
27
                                                           Attorney for Mr. Oseguera-Gonzalez
28

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